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                                                       ConocoPhillips Alaska, Inc.

                                                                              UNITED STATES DISTRICT COURT
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                                                                               FOR THE DISTRICT OF ALASKA

                                                       SOVEREIGN IÑUPIAT FOR A LIVING
                                                       ARCTIC, et al.,
                                                                       Plaintiffs,
                                                               v.
                                                       BUREAU OF LAND MANAGEMENT, et al.,
                                                                       Defendants,
                                                               and
                                                       CONOCOPHILLIPS ALASKA, INC., et al.,
                                                                                                      Case No.: 3:23-cv-00058-SLG
                                                                       Intervenor-Defendants.
                                                       CENTER FOR BIOLOGICAL DIVERSITY,
                                                       et al.,
                                                                       Plaintiffs,
                                                               v.
                                                       BUREAU OF LAND MANAGEMENT, et al.,
                                                                       Defendants,
                                                               and
                                                       CONOCOPHILLIPS ALASKA, INC., et al.,
                                                                       Intervenor-Defendants.         Case No. 3:23-cv-00061-SLG

                                                              CONOCOPHILLIPS ALASKA, INC.’S BRIEF IN OPPOSITION TO
                                                                PLAINTIFFS’ SUMMARY JUDGMENT MOTIONS (L.R. 16.3)



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                                                                               LIST OF USEFUL ABBREVIATIONS

                                                         Abbreviation                     Definition

                                                         BiOp                             Biological Opinion

                                                         BLM                              Bureau of Land Management

                                                         BTU                              Bear Tooth Unit

                                                         CO2e                             Carbon Dioxide Equivalent

                                                         EIS                              Environmental Impact Statement
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                                                         EPA                              Environmental Protection Agency
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                                                         FSEIS                            Supplemental Environmental Impact Statement
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                                                         FWS                              U.S. Fish and Wildlife Service

                                                         GHG                              Greenhouse Gas

                                                         IAP                              Integrated Activity Plan

                                                         MDP                              Master Development Plan

                                                         MT                               Metric Tons

                                                         NPRPA                            Naval Petroleum Reserves Production Act

                                                         NPR-A or Petroleum Reserve       National Petroleum Reserve in Alaska

                                                         RFFA                             Reasonably Foreseeable Future Action

                                                         ROD                              Record of Decision

                                                         TLSA                             Teshekpuk Lake Special Area

                                                         USGS                             United States Geological Survey




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                                                                                          I. INTRODUCTION

                                                               When Congress amended the Naval Petroleum Reserves Production Act

                                                        (“NPRPA”) in 1980, it sought to “expeditiously advance private oil and gas development

                                                        on the NPR-A.” 1 Since then, only two projects located on Petroleum Reserve leases

                                                        (Greater Mooses Tooth 1 and 2) have achieved first oil, and those account for a small

                                                        percentage of the dwindling throughput of the Trans-Alaska Pipeline System (“TAPS”).

                                                        The Willow project is expected to more than triple Petroleum Reserve production,
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                                                        helping realize the NPRPA’s purpose and providing a critical boost to TAPS. The project
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                                                        also realizes the intent of plans developed by the Obama administration, and affirmed by
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                                                        the Biden administration, to sensibly develop the Petroleum Reserve while also

                                                        protecting the region’s unique character.

                                                               In short, the Willow project has been a long time coming. It is therefore

                                                        unsurprising that the project has received such enthusiastic public support from every

                                                        corner of the State of Alaska, and particularly from the local Alaska Native organizations

                                                        and communities that will benefit immensely from Willow.

                                                               Indeed, Willow’s public benefits are staggering. It will generate $7.6 billion in

                                                        federal revenues, $2.6 billion of which will be made available to North Slope

                                                        communities via the NPR-A Mitigation Grant Program. It will provide $2.3 billion for



                                                        1
                                                         ConocoPhillips Alaska, Inc. v. Alaska Oil & Gas Conservation Comm’n, No. 3:22-cv-
                                                        00121-SLG, 2023 WL 2403720, at *13 (D. Alaska Mar. 8, 2023). “NPR-A” refers to the
                                                        National Petroleum Reserve in Alaska, also referred to herein as the “Petroleum
                                                        Reserve.”
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                                                        the State of Alaska in production, property, and income taxes. It will produce another

                                                        $1.2 billion for the North Slope Borough through ad valorem taxes—funding schools,

                                                        emergency response, health clinics, water facilities, roads, waste facilities, and power

                                                        facilities in all eight Borough villages. Constructing Willow will require approximately

                                                        nine million man-hours supporting over 2,500 construction jobs and approximately 300

                                                        long-term jobs. These jobs will be essential to local communities that have some of the

                                                        highest unemployment rates in the Nation. And all of these benefits will come from the
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                                                        production of 600 million barrels of American oil that would otherwise be produced
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                                                        overseas—“increas[ing] domestic oil supply” just as Congress intended. 2
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                                                                  This feat will be accomplished with a minimal footprint—a mere three drill

                                                        sites—and adherence to the most stringent environmental protections in the world. The

                                                        project has been rigorously reviewed over thousands of pages of environmental analyses

                                                        informed by over a hundred public meetings and tens of thousands of public comments. It

                                                        has been reduced and modified in response to local input, including the elimination of

                                                        drill sites and the addition of subsistence access features such as road pullouts, tundra

                                                        access ramps, and boat ramps. The project is subject to 261 mitigation measures and best

                                                        practices to minimize impacts. And it permanently preserves over 800 acres of pristine

                                                        North Slope wetlands.




                                                        2
                                                            Id. at *8.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                      -2-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 12 of 71
                                                               Nevertheless, Plaintiffs and their amici are not—and will never be—content with

                                                        Willow. 3 Plaintiffs believe that all oil and gas should be kept in the ground, and therefore

                                                        that Willow cannot be constructed. In their view, the introduction of any oil to the

                                                        marketplace is itself a harm that must be mitigated (if it is not first prevented). But

                                                        Plaintiffs’ policy preferences run headfirst into congressional policy as expressed in the

                                                        NPRPA.

                                                               In 2021, this Court ordered the Bureau of Land Management (“BLM”) and the
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                                                        U.S. Fish and Wildlife Service (“FWS”) to address discrete errors in the original
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                                                        evaluation of the Willow project. BLM and FWS fully addressed those errors. Willow
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                                                        now has an even smaller footprint, more benefits for Alaska Natives, and less

                                                        environmental impact. It is an understatement to say that all impacts of Willow have been

                                                        exhaustively analyzed. Yet Plaintiffs have sued again, repeating some old claims and

                                                        fashioning new ones that could have been, but were not, raised in prior litigation. As set

                                                        forth in this brief, and in the briefs by Federal Defendants, Kuukpik Corporation, the

                                                        North Slope Borough, the State of Alaska, and Arctic Slope Regional Corporation,

                                                        Plaintiffs’ claims are meritless and should be denied.




                                                        3
                                                         Plaintiffs “don’t see any acceptable version of the project” and hope “that Willow dies a
                                                        death by a thousand cuts.” SILA Dkt. 48 at 10. Congressional amici from California,
                                                        New York, and Arizona proclaim that “[t]he only acceptable Willow project is no Willow
                                                        project.” SILA Dkt. 122 at 4.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                                           II. BACKGROUND

                                                        A.     Petroleum Reserve Planning.

                                                               In 2013, BLM issued an Integrated Activity Plan (“IAP”) that closed

                                                        approximately 11 million acres (48%) of the Petroleum Reserve to leasing and made

                                                        about 2.5 million acres (11%) available for leasing but subject to “No Surface

                                                        Occupancy” stipulations that do not allow for surface construction (with some exceptions

                                                        not relevant here). 4 The closed portions “include areas critical to sensitive bird
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                                                        populations and the Teshekpuk Lake and Western Arctic Caribou Herds.” 5 The 2013 IAP
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                                                        made the remaining 9.3 million acres (41%) of the Petroleum Reserve available for
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                                                        leasing and new oil and gas infrastructure, subject to terms and conditions designed to

                                                        protect the surface resources of the Petroleum Reserve. 6 The infrastructure contemplated

                                                        by the IAP included projects much larger than Willow. 7

                                                               Many environmental groups, including some of the Plaintiffs here, praised the

                                                        IAP. The Northern Alaska Environmental Center said the IAP “provides effective and

                                                        reliable conservation measures to protect fish, wildlife and their habitats to ensure

                                                        balanced management of the NPR-A, consistent with federal law.” 8 Similarly, 12,600

                                                        members of the Alaska Wilderness League wrote to BLM that this was “the most




                                                        4
                                                          BLM_3096_AR505211.
                                                        5
                                                          BLM_3377_AR516640.
                                                        6
                                                          BLM_3096_AR505211.
                                                        7
                                                          See BLM_3514_AR847878 (considering up to eight central processing facilities).
                                                        8
                                                          BLM_3514_AR848813.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        responsible and balanced management plan for the Reserve.” 9 Earthjustice said the IAP

                                                        was “a positive step toward balanced management” that “allows for future oil and gas

                                                        development.” 10

                                                               In 2022, the Biden administration issued a new IAP affirming the 2013 land

                                                        allocations, finding that they “strike[] a balance” among development, the “importance of

                                                        surface resources,” and the need to mitigate impacts on subsistence uses. 11 The 2022 IAP

                                                        includes dozens of lease stipulations and other measures designed to reduce and minimize
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                                                        the impact to surface resources. 12
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                                                        B.     The Willow Project and This Court’s Remand.
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                                                               A full history of the Willow Master Development Plan (“MDP”) is in BLM’s

                                                        administrative record 13 and is also described in Appendix D.1 to the final supplemental

                                                        environmental impact statement (“FSEIS”). 14 The Willow MDP addresses development

                                                        in the Bear Tooth Unit (“BTU”), which consists of land leased to ConocoPhillips in the

                                                        Petroleum Reserve. 15 All of these leases are within the area open to development under

                                                        the 2022 IAP. 16




                                                        9
                                                          BLM_3514_AR848578.
                                                        10
                                                           BLM_3514_AR848584-585.
                                                        11
                                                           BLM_3377_AR516637, AR516652.
                                                        12
                                                           BLM_3513_AR824926.
                                                        13
                                                           See BLM_3096_AR505211-248.
                                                        14
                                                           See generally BLM_3512_AR821922.
                                                        15
                                                           BLM_3096_AR505211.
                                                        16
                                                           Id.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 15 of 71
                                                                As recounted in Federal Defendants’ brief, this Court previously identified

                                                        discrete errors with the original Willow project approval. On remand, BLM, in

                                                        cooperation with State, federal, municipal, and Tribal cooperating agencies, screened 19

                                                        revised drilling pad configurations and other project components to address this Court’s

                                                        ruling on alternatives. 17 Based on that evaluation, BLM developed a new alternative

                                                        (Alternative E), which included many changes to ConocoPhillips’ proposed Alternative

                                                        B, as summarized in the image below. 18
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                                                        The light green polygons in the above image represent the maximum underground

                                                        drilling reach from the small surface pads.




                                                        17
                                                             BLM_3512_AR821953-955.
                                                        18
                                                             BLM_3102_AR505283.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 16 of 71
                                                                BLM explained that Alternative E “was developed . . . to reduce surface impacts,

                                                        in response to the District Court’s remand.” 19 As indicated in the figure above,

                                                        Alternative E reduces the footprint in the Teshekpuk Lake Special Area (“TLSA”) by

                                                        40%, reduces the total project footprint by 55 acres, and eliminates seven miles of roads

                                                        and one drill pad (BT4). Figure D.4.10 in FSEIS Appendix D.1 20 shows the subsurface

                                                        reach (gray polygons) of the small surface drill sites (orange dots) for the alternatives,

                                                        overlaid with an outline of the total lease unit (double red line) and the underlying oil
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                                                        pool (dotted line):
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                                                        19
                                                             BLM_3512_AR822091.
                                                        20
                                                             BLM_3512_AR822032.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                      -7-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 17 of 71
                                                        As illustrated above, the polygons do not cover the entire pool; thus, the alternatives

                                                        BLM presented in the 2020 EIS (Alternatives B, C, and D) allowed ConocoPhillips

                                                        access to most, but not all, of the oil and gas within the reservoir. The drilling pad

                                                        locations reflect a balance between access to the oil pool and protection for surface

                                                        resources of the TLSA, while respecting the IAP’s many constraints and setbacks. 21

                                                        Compared to Alternatives B, C, and D in the 2020 EIS, Alternative E further reduces

                                                        ConocoPhillips’ access to the reservoir by eliminating the northernmost drill site (BT4)
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                                                        and adjusting the locations of two drill pads (BT2 and BT5) northward. 22
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                                                               On March 13, 2023, BLM released its record of decision (“ROD”) approving
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                                                        Alternative E but denying approval of the BT5 drill site (the southernmost site) to

                                                        minimize any potential for impacts to caribou and subsistence hunting. 23 Four days later,

                                                        ConocoPhillips relinquished all or portions of 13 leases comprising 68,085.50 acres, most

                                                        of which was within the BTU and would have been accessible from BT4 and BT5. 24

                                                        C.     Status of Construction.

                                                               The same day BLM issued the ROD, ConocoPhillips started ice road and pad

                                                        construction and, following the Court’s denial of Plaintiffs’ preliminary injunction




                                                        21
                                                           These constraints are graphically represented in Figure D.3.2 of Appendix D.1
                                                        (BLM_3512_AR821950).
                                                        22
                                                           BLM_3513_AR824898-899 (Table 1).
                                                        23
                                                           BLM_3513_AR824890, AR824897-901. Traditional oil and gas developments use far
                                                        more drill sites than Willow. See BLM_3099_AR505255.
                                                        24
                                                           CBD Dkt. 54-010, Ex. 9, Bross Decl. ¶ 17, Ex. B.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                      -8-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 18 of 71
                                                        motions, was able to complete the Winter 2023 construction activities on May 3, 2023. 25

                                                        This included opening a new gravel mine, extracting gravel, extending the gravel road

                                                        from an existing pad westward toward Willow, and beginning construction of a

                                                        subsistence boat ramp. 26 Offsite fabrication of Willow materials, such as modules, pipes,

                                                        and culverts, is ongoing, as is pre-construction summer work in the Kuparuk River

                                                        Unit. 27 Major construction activities planned for this winter’s season are scheduled to

                                                        begin December 21, depending on weather. 28
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                                                                                           III. ARGUMENT 29
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                                                        A.     BLM’s Approval of Willow Complies with NEPA.
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                                                               1.     BLM’s Alternatives Analysis Satisfies NEPA.

                                                               This Court directed BLM to revisit its alternatives analysis “to the extent” that

                                                        BLM previously (1) failed to consider the NPRPA’s “maximum protection” to the TLSA

                                                        and (2) assumed that “ConocoPhillips has the right to extract all possible oil and gas on

                                                        its leases.” 30 BLM directly addressed those two issues on remand, undertaking a new

                                                        alternatives-development process that considered the agency’s obligations under the




                                                        25
                                                           Declaration of Connor Dunn (“Dunn Decl.”) ¶ 3.
                                                        26
                                                           Id.
                                                        27
                                                           Id. ¶¶ 4, 5.
                                                        28
                                                           Id. ¶ 7.
                                                        29
                                                           ConocoPhillips adopts by reference Federal Defendants’ standard of review. See CBD
                                                        Dkt. 149 at 25-26. Consistent with Federal Defendants’ brief, citations to docket
                                                        documents refer to the ECF-stamped page numbers.
                                                        30
                                                           Sovereign Iñupiat for a Living Arctic v. BLM (“SILA”), 555 F. Supp. 3d 739, 770 (D.
                                                        Alaska 2021).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        NPRPA to “allow the production and transportation to market of federal oil and gas

                                                        resources . . . while providing maximum protection to significant surface resources within

                                                        the [Petroleum Reserve].” 31 Federal Defendants’ brief describes how this process

                                                        satisfied this Court’s prior order. 32 Below, ConocoPhillips emphasizes a few additional

                                                        points.

                                                                  First, BLM’s approach aligns with Northern Alaska Environmental Center v.

                                                        Kempthorne. 33 There, the Ninth Circuit rejected a similar alternatives challenge to BLM’s
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                                                        EIS for an earlier version of the IAP for the Petroleum Reserve. 34 The plaintiffs argued
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                                                        that BLM’s range of alternatives was inadequate because it did not include their preferred
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                                                        “Audubon Alternative,” which offered more protection for wildlife than the five

                                                        alternatives considered. 35 The court rejected that argument because BLM sufficiently

                                                        explained why the “Audubon Alternative as a whole was inconsistent with the [IAP]

                                                        project and statutory mandates” and the agency had agreed to “incorporate several

                                                        recommendations” into the final alternative it selected. 36

                                                                  Similarly, here, BLM evaluated 28 new alternative components, documented why

                                                        certain alternatives did not meet the revised screening criteria, and incorporated multiple




                                                        31
                                                           BLM_3512_AR820723-724.
                                                        32
                                                           ConocoPhillips adopts Federal Defendants’ alternatives arguments.
                                                        33
                                                           457 F.3d 969 (9th Cir. 2006).
                                                        34
                                                           Id. at 978-79.
                                                        35
                                                           Id. at 978.
                                                        36
                                                           Id. at 978-79.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 20 of 71
                                                        elements from the rejected alternatives into a new alternative. 37 BLM even incorporated

                                                        many of Plaintiffs’ recommendations (fewer well sites, less access to oil, fewer

                                                        greenhouse gas emissions, 40% less infrastructure in the TLSA, less impact on

                                                        subsistence resources, and fewer gravel roads) into the new Alternative E. 38 Plaintiffs are

                                                        upset that BLM did not select their proffered alternatives (vague as they were), but BLM

                                                        explained why it did not. 39 In any event, Kempthorne explains, “NEPA does not require

                                                        BLM to explicitly consider every possible alternative to a proposed action.” 40
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                                                               Second, the cases CBD cites are inapposite. In CBD v. National Highway Traffic
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                                                        Safety Administration, the agency considered essentially no range of alternatives. 41 Here,
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                                                        by contrast, BLM considered a wide range of MDP alternatives with significant

                                                        differences in the number of drill sites, size of gravel footprint, number of wells, and

                                                        miles of gravel and ice roads. 42 Even further afield is CBD v. United States Fish and

                                                        Wildlife Service. 43 There, unlike here, the court found that the Forest Service applied the

                                                        wrong regulations altogether—a mistake that “infected the FEIS and led to the Forest




                                                        37
                                                           BLM_3512_AR821953-960.
                                                        38
                                                           BLM_3512_AR822091-093; Dkt. 115 (“CBD Br.”) at 21-22; Dkt. 105 (“SILA Br.”) at
                                                        22-23.
                                                        39
                                                           BLM_3512_AR821957-960, AR821965-966.
                                                        40
                                                           457 F.3d at 978.
                                                        41
                                                           538 F.3d 1172, 1217-19 (9th Cir. 2008) (agency setting average fuel economy
                                                        standards offered ranges that varied only by tenths of a mile per gallon).
                                                        42
                                                           See Federal Defendants’ Br. at 31 (describing wide ranges); see also
                                                        BLM_3512_AR820730-733; id. at AR822115-120.
                                                        43
                                                           409 F. Supp. 3d 738, 763-66 (D. Ariz. 2019), aff’d, 33 F.4th 1202 (9th Cir. 2022).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 21 of 71
                                                        Service misinforming the public and failing to consider reasonable alternatives[.]” 44 BLM

                                                        made no such mistake here and developed its alternatives according to its obligations

                                                        under the NPRPA.

                                                               Third, Plaintiffs selectively quote the record to argue that BLM’s current approach

                                                        is “nearly identical” to its previous assumption that ConocoPhillips had “the right to

                                                        extract all possible oil and gas.” 45 They pluck the words “fully develop” and

                                                        “economically viable quantities of oil” out of context to claim this is just the “all possible
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                                                        oil” constraint in another guise. 46 But Plaintiffs rely heavily on a statement in the draft
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                                                        SEIS and they ignore both BLM’s responses to Plaintiffs’ comments and the language of
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                                                        the FSEIS. 47 The full record makes clear that Plaintiffs’ argument fails.

                                                               To start with, the alternative BLM selected—like all the other alternatives

                                                        considered in the FSEIS—would not allow ConocoPhillips to recover “all possible oil.”

                                                        As shown in the figures above, none of the drill pad configurations considered allows

                                                        access to the entire reservoir (or all possible oil).

                                                               On remand, moreover, BLM clearly stated that it was not allowing access to all

                                                        possible oil. 48 BLM explained:

                                                                       In accordance with the District Court’s decision, the [FSEIS]
                                                                       does not assume that ConocoPhillips has the right to extract
                                                                       all possible oil and gas from its leases. BLM does not require

                                                        44
                                                           Id. at 764.
                                                        45
                                                           CBD Br. at 18-19; SILA Br. at 22-23.
                                                        46
                                                           CBD Br. at 18-19; SILA Br. at 20-21.
                                                        47
                                                           See CBD Br. at 18; SILA Br. at 21; see BLM_3512_AR821709, AR821737-740.
                                                        48
                                                           See supra § II.B.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                         100% resource extraction and may condition Project approval
                                                                         to protect surface resources even if doing so reduces the
                                                                         amount of oil and gas that can be profitably produced.[49]

                                                        Consistent with that position, BLM proposed Alternative E, which further reduces

                                                        impacts and eliminates access to approximately 15.4 million more barrels of recoverable

                                                        oil. 50

                                                                  Plaintiffs cannot contort “fully develop” into the same thing as “all recoverable

                                                        oil.” BLM regulations required ConocoPhillips to present BLM with a master plan to
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                                                        “fully develop the oil and gas field.” 51 That is what ConocoPhillips did with its proposed
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                                                        Willow MDP (Alternative B). BLM explained:
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                                                                         The purpose of a master development plan is to evaluate the
                                                                         full development of an oil prospect to disclose all impacts
                                                                         related to the proposed project and prevent segmentation of
                                                                         the National Environmental Policy Act analysis.[52]

                                                        In fact, Plaintiffs agreed, urging that “BLM should be clear about the true scope of

                                                        Willow and should not allow Conoco to piecemeal its proposal.” 53

                                                                  BLM further explains that the term “fully develop” means “that the lessee may not

                                                        strand such a large quantity of oil and gas that, standing alone, is economic to develop

                                                        (i.e., that would warrant construction of an additional drill pad).” 54 This makes sense. A



                                                        49
                                                           BLM_3512_AR821709.
                                                        50
                                                           BLM_3512_AR820777.
                                                        51
                                                           43 C.F.R. § 3137.71(b)(1).
                                                        52
                                                           BLM_3512_AR821737 (emphasis added).
                                                        53
                                                           BLM_3330_AR509715.
                                                        54
                                                           BLM_3512_AR821709.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 23 of 71
                                                        “master development plan” for an oil and gas field should include all of development that

                                                        is planned. Again, BLM explained:

                                                                      [T]o the extent that an alternative concept strands an
                                                                      economically viable quantity of oil, the BLM would expect to
                                                                      receive a future permit application to develop it. Such an
                                                                      alternative concept therefore does not disclose and analyze
                                                                      the impacts of full field development and is a false
                                                                      comparison to other action alternatives.[55]

                                                        BLM explains that “Alternative E evaluates the full development of the Willow
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                                                        reservoir,” while leaving behind more recoverable oil. 56 Thus, “full development” is not
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                                                        the same as “all possible oil,” and Plaintiffs’ argument to the contrary is baseless.
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                                                               To be sure, BLM concluded that some of Plaintiffs’ proposals to eliminate all

                                                        infrastructure in the TLSA were not viable alternatives for a master development plan

                                                        because they would strand so much recoverable oil that ConocoPhillips would certainly

                                                        later apply to build another drill site. 57 That does not remotely show that BLM still

                                                        thought ConocoPhillips had the right to develop all possible oil. It is instead consistent

                                                        with BLM’s statement of purpose and need, and is faithful to the NPRPA’s primary




                                                        55
                                                           BLM_3512_AR821710 (citing 43 C.F.R. § 3137.71(b)(1)).
                                                        56
                                                           BLM_3512_AR821087.
                                                        57
                                                           See BLM_3512_AR821710; BLM_3512_AR821958. Plaintiffs confuse BLM’s
                                                        mitigation authority to reduce the scope of a project with its NEPA obligation to evaluate
                                                        the full scope of effects. The FSEIS explains that BLM reserved its authority to select
                                                        “variations on Alternative E that would be more environmentally protective,”
                                                        BLM_3512_AR820701, and exercised that authority in the ROD to eliminate BT5.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        purpose—i.e., to “expeditiously advance private oil and gas development on the NPR-

                                                        A.” 58

                                                                 Finally, Plaintiffs’ desire for “[a]n alternative that substantially reduces Willow’s

                                                        carbon footprint and prohibits infrastructure within the [TLSA]” ultimately just conflicts

                                                        with the NPRPA, under which “infrastructure is allowed, and indeed anticipated, within

                                                        the TLSA” and which does not prohibit “exploration or other activities” in special

                                                        areas. 59 And even if reduction of carbon footprint were a relevant factor under the
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                                                        NPRPA, Alternative E does so by 21,750,000 metric tons (“MT”) of indirect carbon
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                                                        dioxide equivalent (“CO2e”) emissions. 60 In sum, BLM fully responded to this Court’s
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                                                        prior remand order and the agency’s alternatives analysis satisfies NEPA.

                                                                 2.     BLM Lawfully Evaluated Growth Inducing Impacts.

                                                                 Plaintiffs argue that the FSEIS failed to consider “growth inducing” impacts. They

                                                        focus on a potential future development (“Greater Willow” or “West Willow”) and argue

                                                        that BLM did not analyze its potential downstream greenhouse gas (“GHG”) emissions.

                                                        Plaintiffs’ arguments ignore the record and are legally and factually flawed.

                                                                       a.     The FSEIS Squarely Addresses Growth Inducing Impacts,
                                                                              Including West Willow.

                                                                 The FSEIS addresses growth inducing impacts in a new section aptly titled

                                                        “Growth Inducing Impacts” (Section 3.20.3), which updates and expands the cumulative


                                                        58
                                                           42 U.S.C. § 6504(a); ConocoPhillips Alaska, Inc., 2023 WL 2403720, at *13.
                                                        59
                                                           CBD Br. at 24; see also SILA Br. at 24; SILA, 555 F. Supp. 3d at 769; 42 Fed. Reg.
                                                        28,723 (June 3, 1977) (see Addendum).
                                                        60
                                                           BLM_3512_AR820777.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        effects analysis from the prior EIS. 61 That section expressly identifies “West Willow” as

                                                        a Reasonably Foreseeable Future Action (“RFFA”) and discusses the potential for

                                                        Willow to facilitate the growth of future projects, including “West Willow.” 62 West

                                                        Willow is a “technical oil and gas discovery into which two exploration wells have been

                                                        drilled,” and for which “[d]evelopment is not currently planned.” 63

                                                               The FSEIS analyzes the cumulative effects of Willow’s downstream emissions in

                                                        the context of all such emissions from future development in the Petroleum Reserve and
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                                                        across the North Slope, concluding that “the cumulative annual average of gross GHG
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                                                        emissions from the Project, the Coastal Plain, NPR-A, and other North Slope emissions
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                                                        would be approximately 95.60 [million] MT (i.e., about 1.46% of the 2019 U.S. GHG

                                                        inventory and 2.9% to 3.0% of U.S. net GHG emissions target for 2030).” 64 This level of

                                                        analysis is reasonable and consistent with controlling precedent: “The Ninth Circuit has

                                                        held that an agency may group together several projects in its cumulative impacts

                                                        analysis, including RFFAs.” 65



                                                        61
                                                           BLM_3512_AR821122; see also BLM_3512_AR821126.
                                                        62
                                                           BLM_3512_AR821122.
                                                        63
                                                           BLM_3301_AR509540. West Willow is not part of Willow as CBD suggests. Id.; see
                                                        also SILA, 555 F. Supp. 3d at 781 n.249 (deferring to BLM’s determination that Greater
                                                        Willow is an RFFA); BLM_3512_AR820696 (describing Willow project).
                                                        64
                                                           BLM_3512_AR821126.
                                                        65
                                                           SILA, 555 F. Supp. 3d at 782; see Cascadia Wildlands v. Bureau of Indian Affs., 801
                                                        F.3d 1105, 1112 (9th Cir. 2015) (“Thus, 40 C.F.R. § 1508.7 does not explicitly require
                                                        individual discussion of the impacts of reasonably foreseeable projects, and, absent such
                                                        a requirement, it is not for the court to tell the agency how specifically to present such
                                                        evidence in an EA.”). 40 C.F.R. § 1508.7 has been recodified at 40 C.F.R. § 1508.1(g)(3).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 26 of 71
                                                               Contrary to Plaintiffs’ suggestions, BLM’s analysis included indirect emissions

                                                        from future growth in the Petroleum Reserve. Drawing on technical models from the

                                                        2020 IAP, BLM included in the FSEIS the projected indirect (or “downstream”)

                                                        emissions from future development scenarios in the Petroleum Reserve. 66 BLM’s low-

                                                        and medium-growth forecasts contemplated that satellite projects (like West Willow)

                                                        would “connect to existing or planned infrastructure in the Willow development,” with

                                                        the high-growth forecast adding new central processing facilities. 67 Moreover, the FSEIS
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                                                        conservatively uses the future downstream emissions from the high-growth scenario,
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                                                        thereby fully capturing the potential growth induced by Willow (and much more). 68
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                                                               BLM performed this analysis along with the expanded analysis of GHG emissions

                                                        to address this Court’s remand order and the Ninth Circuit’s decision in CBD v.

                                                        Bernhardt. 69 The expanded analysis included detailed numerical estimates of Willow’s

                                                        direct and indirect GHG emissions, 70 the impact of foreign emissions, 71 the social cost of

                                                        GHG emissions, 72 cumulative impacts to climate change based on cumulative and annual




                                                        66
                                                           FWS_78_AR364011.
                                                        67
                                                           FWS_78_AR363937-938.
                                                        68
                                                           BLM_3512_AR821126; FWS_78_AR364011.
                                                        69
                                                           982 F.3d 723, 737 (9th Cir. 2020).
                                                        70
                                                           BLM_3512_AR820760-762; AR820770-771.
                                                        71
                                                           BLM_3512_AR820770-772.
                                                        72
                                                           BLM_3512_AR820772-774.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        CO2e calculations, 73 and an appendix including the models and calculations themselves. 74

                                                        BLM therefore fully addressed growth inducing impacts and GHG emissions.

                                                                      b.     SILA Already Litigated and Lost Its “West Willow” Arguments.

                                                               Two years ago, SILA argued that “the EIS does not provide detailed information

                                                        on Greater Willow” and that the analysis “should have been included in the cumulative

                                                        impacts section.” 75 The Court rejected that argument, concluding that Greater Willow is

                                                        an RFFA, the analysis was “sufficient for the decision maker and the public to understand
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                                                        the potential scope and impacts of Greater Willow,” and “‘[i]t is not for this court to tell
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                                                        [BLM] what specific evidence to include, nor how specifically to present it.’” 76
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                                                               SILA reprises its arguments, claiming that the even more robust discussion of

                                                        Greater Willow in the cumulative effects section (where SILA asked that it be placed) is

                                                        not sufficient. 77 But SILA does not get a do-over on an issue “actually adjudicated in

                                                        previous litigation.” 78

                                                               Regardless, SILA’s arguments are meritless. SILA argues that BLM was required

                                                        to specifically “calculate” future emissions from the potential “Greater Willow.” 79 That


                                                        73
                                                           BLM_3512_AR821126.
                                                        74
                                                           BLM_3512_AR822432-473.
                                                        75
                                                           SILA, 555 F. Supp. 3d at 781.
                                                        76
                                                           Id. (quoting Cascadia Wildlands, 801 F.3d at 1112) (alteration in SILA).
                                                        77
                                                           SILA Br. at 30-31.
                                                        78
                                                           Janjua v. Neufeld, 933 F.3d 1061, 1065 (9th Cir. 2019) (quoting Clark v. Bear Stearns
                                                        & Co., 966 F.2d 1318, 1320 (9th Cir. 1992)); see also Robi v. Five Platters, Inc., 838
                                                        F.2d 318, 326 (9th Cir. 1988) (summary judgment can have preclusive effect as a final
                                                        judgment).
                                                        79
                                                           SILA Br. at 31.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        just ignores the reasonable approach BLM took—i.e., grouping RFFAs together using a

                                                        larger development scenario for the Petroleum Reserve and aggregating those impacts in

                                                        the cumulative impacts section. Plaintiffs provide no authority requiring BLM to

                                                        specifically quantify downstream GHG emissions for each RFFA individually, and Ninth

                                                        Circuit authority is to the contrary. 80

                                                               Additionally, SILA complains that the FSEIS’s cumulative effects analysis omits

                                                        8,500 MT of emissions from the construction and operation of Greater Willow. 81 This is
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                                                        flyspecking to an extreme. 82 The FSEIS provides an estimate of the annual cumulative
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                                                        emissions based on aggressive (and unlikely) future development scenarios that include
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                                                        370,000 MT of annual direct emissions and 6,200,000 MT of annual indirect emissions

                                                        from future projects in the Petroleum Reserve, plus 380,000 MT of direct emissions and

                                                        62,000,000 MT of indirect annual emissions for the Coastal Plain in the Arctic National

                                                        Wildlife Refuge (where leasing activity is currently suspended). 83 There is no reasonable

                                                        prospect that BLM underestimated the cumulative GHG emissions. The 8,500 MT of

                                                        annual emissions for potential West Willow operations is well within the scope of the

                                                        370,000 MT estimated by BLM for the aggregate of future direct annual emissions in the

                                                        Petroleum Reserve.


                                                        80
                                                           Cascadia Wildlands, 801 F.3d at 1112.
                                                        81
                                                           SILA Br. at 32.
                                                        82
                                                           Audubon Soc’y of Portland v. Haaland, 40 F.4th 967, 984 (9th Cir. 2022) (“[W]e do
                                                        not ‘fly-speck’ [the agency’s] analysis and ‘hold it insufficient on the basis of
                                                        inconsequential, technical deficiencies.’”).
                                                        83
                                                           BLM_3512_AR821126 (measurements in million metric tons (“MMT”)).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                               SILA’s argument is the worst kind of flyspecking because they did not raise this

                                                        concern in public comments. Those who “wish to participate” in the administrative

                                                        process regarding “the environmental impact of a proposed action” must “structure their

                                                        participation so that it is meaningful, so that it alerts the agency to the intervenors’

                                                        position and contentions.” 84 “‘[T]he failure to raise a specific factual contention

                                                        regarding the substantive content of an EIS during the NEPA public comment process’”

                                                        results in waiver. 85 SILA never told BLM that it should separately address the 8,500 MT
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                                                        of hypothetical direct emissions from the potential future construction and from operation
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                                                        of West Willow (a project that has never been proposed) in its cumulative effects
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                                                        analysis. SILA’s argument is thus both meritless and waived.

                                                                     c.      CBD’s Argument Is Erroneous.

                                                               CBD likewise asserts that the FSEIS fails to address the growth inducing effects of

                                                        Willow (again principally West Willow). But CBD then relies exclusively on the FSEIS

                                                        itself, citing and quoting its section on “Growth Inducing Impacts” as proof that Willow

                                                        will have growth inducing impacts. 86 Obviously, then, the FSEIS addressed the potential

                                                        growth inducing effects of Willow. 87


                                                        84
                                                           Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Council (“NRDC”), 435 U.S. 519,
                                                        553 (1978).
                                                        85
                                                           ‘Ilio’ulaokalani Coal. v. Rumsfeld, 464 F.3d 1083, 1092 (9th Cir. 2006) (quoting Nw.
                                                        Env’t Def. Ctr. v. Bonneville Power Admin., 117 F.3d 1520, 1535 (9th Cir. 1997)).
                                                        86
                                                           CBD Br. at 26.
                                                        87
                                                           To the extent CBD argues that this analysis should have appeared in the “indirect”
                                                        rather than “cumulative” effects section of the FSEIS, such an argument is baseless.
                                                        “‘[T]he scope and nature of the direct, indirect, and cumulative impacts analysis is a

                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                               Equally perplexingly, CBD discusses four cases that address induced growth, but

                                                        overlooks that all four cases involved an agency’s failure to prepare an EIS altogether. 88

                                                        The question in those cases was whether potential growth inducing impacts (ignored in

                                                        the environmental assessment) could trigger an EIS. 89 Here, BLM prepared an EIS and

                                                        addressed growth inducing impacts. 90

                                                               CBD next argues that “BLM never disclosed the downstream greenhouse gas

                                                        emissions consequences of Willow’s significant growth-inducing effects.” 91 As discussed
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                                                        above, that is not true. BLM provides the high-end estimates for growth and development
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                                                        in the Petroleum Reserve and quantifies the high-end potential future downstream
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                                                        emissions in the cumulative effects analysis. 92 These scenarios include “satellite




                                                        matter committed to the sound discretion of the agency.’” Chilkat Indian Vill. of Klukwan
                                                        v. BLM, 399 F. Supp. 3d 888, 919-20 (D. Alaska 2019) (citation omitted), aff’d, 825 F.
                                                        App’x 425 (9th Cir. 2020).
                                                        88
                                                           CBD Br. at 25 (citing City of Davis v. Coleman, 521 F.2d 661, 667-69, 674-76 (9th Cir.
                                                        1975); NRDC v. Dep’t of Energy, No. 04-cv-04448, 2007 WL 1302498, at *11, *20
                                                        (N.D. Cal. May 2, 2007); Barnes v. U.S. Dep’t of Transp., 655 F.3d 1124, 1138-39 (9th
                                                        Cir. 2011); Ocean Advocs. v. U.S. Army Corps of Eng’rs, 402 F.3d 846, 867-70 (9th Cir.
                                                        2005)).
                                                        89
                                                           See City of Davis, 521 F.2d at 673.
                                                        90
                                                           BLM_3512_AR821122.
                                                        91
                                                           CBD Br. at 28. CBD points to a statement that ConocoPhillips has “3 billion” barrels
                                                        of “prospects and leads” to suggest imminent future growth. This is both misleading (see
                                                        BLM_3301_AR509540-541) and misses the point. The USGS determined that the
                                                        Petroleum Reserve may have “8.7 billion barrels of recoverable oil”
                                                        (BLM_3377_AR516558), and, accordingly, the IAP high-growth scenario predicts
                                                        development up to 500,000 barrels per day (FWS_78_AR363938). This growth, and its
                                                        downstream emissions, are captured in the Willow cumulative effects analysis.
                                                        92
                                                           BLM_3512_AR821126 (citing 2020 NPR-A IAP EIS, FWS_78_AR364559-563,
                                                        AR364738).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        developments using . . . Willow,” which is precisely what West Willow (if ever built)

                                                        would be. 93 These numbers also include downstream effects and market effects. 94

                                                               Without acknowledging those estimates, CBD argues that BLM’s emissions

                                                        analysis does “not suffice” because it was derived from BLM’s analysis in the 2020 IAP

                                                        EIS. 95 But BLM was not required to reinvent the wheel and both the Ninth Circuit and

                                                        the NEPA regulations confirm BLM’s approach is reasonable. 96 BLM disclosed the

                                                        downstream impacts associated with future growth and explained how those estimates
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                                                        were calculated. 97 That complies with NEPA. 98
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                                                               CBD then argues that West Willow was not included in any of the 2020 IAP EIS’s
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                                                        projections, insisting that those projections exclude “Willow and other existing and

                                                        planned development from oil production estimates.” 99 CBD is confused. West Willow is

                                                        not part of Willow. Nor is it “existing” or “planned.” It is a potential future


                                                        93
                                                           FWS_78_AR364561. The FSEIS incorporates the high-growth scenario for Alternative
                                                        A from the 2020 IAP EIS. Compare BLM_3512_AR821126 with FWS_78_AR364011.
                                                        Even the low-growth scenario in the IAP EIS contemplates future development that
                                                        connects to the “Willow development.” FWS_78_AR363937. The emissions for the high-
                                                        growth scenario contemplate that and much more. FWS_78_AR363938. The downstream
                                                        effects were modeled in Appendix G of the 2020 IAP EIS. FWS_78_AR364738-744.
                                                        94
                                                           FWS_78_AR364738.
                                                        95
                                                           CBD Br. at 28-29.
                                                        96
                                                           W. Watersheds Project v. Abbey, 719 F.3d 1035, 1048-49 (9th Cir. 2013); Kempthorne,
                                                        457 F.3d at 974; 40 C.F.R. § 1501.11(b).
                                                        97
                                                           BLM_3512_AR821126 (citing FWS_78_AR364559-563, AR364738);
                                                        FWS_78_AR364011, AR364738-744.
                                                        98
                                                           Westlands Water Dist. v. U.S. Dep’t of Interior, 376 F.3d 853, 866 (9th Cir. 2004)
                                                        (“Preparing an EIS ‘necessarily calls for judgment, and that judgment is the agency’s.’”
                                                        (citation omitted)).
                                                        99
                                                           CBD Br. at 29 n.6 (citing FWS_78_AR364553).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        development 100 and is accordingly addressed in the IAP EIS as part of the reasonable

                                                        future growth scenario, which, in turn, was added to the Willow cumulative effects

                                                        analysis (as described above). 101

                                                               Finally, in a surprise about-face, CBD cites Appendix H.6 of the IAP EIS, which

                                                        analyzes cumulative air quality impacts, to argue that “it appears the IAP assessment

                                                        specifically excludes West Willow from its downstream emissions.” 102 But downstream

                                                        emissions are addressed in Appendix G, and were modelled based on the low- and high-
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                                                        development scenarios, both of which, as explained above, contemplated the growth of
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                                                        satellite projects like West Willow. 103 By contrast, Appendix H models local air quality
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                                                        impacts. 104 CBD knows this, and already told the Court that Appendix H was “unrelated

                                                        to the EIS’s greenhouse gas analysis.” 105

                                                               Ultimately, neither CBD nor SILA argue that the cumulative analysis in the

                                                        FSEIS—estimating some 95.60 million MT annually based on aggressive potential future

                                                        development scenarios—underestimates the impacts of Willow. Instead, they engage in




                                                        100
                                                            BLM_3503_AR811698; BLM_3301_AR509540.
                                                        101
                                                            FWS_78_AR364014 (GHG impacts analysis “include[s] emissions from future
                                                        projected production in the NPR-A and emissions that are released outside of the North
                                                        Slope via downstream emissions.”).
                                                        102
                                                            CBD Br. at 29 n.6 (citing FWS_78_AR364805) (emphasis added).
                                                        103
                                                            FWS_78_AR364750-751.
                                                        104
                                                            FWS_78_AR364752.
                                                        105
                                                            CBD Dkt. 78 at 3.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        flyspecking and obfuscation. The FSEIS provides information “sufficient for the decision

                                                        maker and the public to understand the potential scope and impacts of [the project].” 106

                                                        B.     BLM’s Decision Complies with the NPRPA.

                                                               CBD argues that BLM violated the NPRPA by not reducing oil production to

                                                        mitigate potential climate impacts to the Petroleum Reserve. 107 This argument

                                                        misunderstands the statute and its context.

                                                               Congress enacted the NPRPA to “expeditiously advance private oil and gas
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                                                        development on the NPR-A.” 108 And it amended the law (during the 1979 energy crisis)
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                                                        “to increase domestic oil supply as expeditiously as possible.” 109 But Congress balanced
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                                                        oil production with protection of “surface resources” in the NPR-A, giving BLM

                                                        discretion to “mitigate . . . adverse effects” as it “deems necessary.” 110 BLM did so here,

                                                        mandating numerous mitigation measures and additional protections from the




                                                        106
                                                            SILA, 555 F. Supp. 3d at 781; see also League of Wilderness Defs.-Blue Mountains v.
                                                        U.S. Forest Serv., 549 F.3d 1211, 1218 (9th Cir. 2008).
                                                        107
                                                            CBD Br. at 30-34.
                                                        108
                                                            ConocoPhillips Alaska, 2023 WL 2403720, at *13.
                                                        109
                                                            Id. at *8; Pub. L. No. 96-514, 94 Stat. 2964 (1980) (codified at 42 U.S.C. § 6506a)
                                                        (see Addendum); see Laurel Graefe, Oil Shock of 1978–79, Fed. Reserve History
                                                        www.federalreservehistory.org/essays/oil-shock-of-1978-79 (last visited Aug. 29, 2023)
                                                        (see Addendum).
                                                        110
                                                            42. U.S.C. § 6506a(b); see also id. § 6504(a) (directing federal oil exploration be
                                                        conducted to “assure the maximum protection of such surface values,” but only “to the
                                                        extent consistent with the requirements of this Act”). The NPRPA says nothing about
                                                        downstream emissions.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        unchallenged 2013 and 2022 IAP RODs. 111 Plaintiffs do not dispute the adequacy of this

                                                        mitigation to protect surface resources.

                                                               Instead, CBD turns the NPRPA upside down, arguing that BLM was required to

                                                        reduce production to mitigate future climate change impacts to “surface resources.” There

                                                        is no plausible way to graft a “keep it in the ground” policy onto the Naval Petroleum

                                                        Reserves Production Act, no matter how many times Plaintiffs call this statute the

                                                        “Reserves Act.” The whole purpose of the NPRPA is to increase the production of oil—
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                                                        not to ameliorate the long-term consequences of global climate change by imposing
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                                                        conditions to restrict the production of oil. The statutory reference to “surface resources”
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                                                        plainly refers to on-the-ground development activities, and mitigation measures for those

                                                        activities were imposed here. 112

                                                               Besides, other than raising generic concerns about increased GHG emissions,

                                                        CBD cannot identify any actual harm to “surface resources” in the Petroleum Reserve

                                                        that are causally linked to Willow emissions. 113 For these reasons, and those discussed by




                                                        111
                                                            BLM_3513_AR824926, AR824946-956; see also BLM_3377_AR516637, AR516652
                                                        (IAP protections “strike[] a balance” between development and the “importance of
                                                        surface resources”).
                                                        112
                                                            42 U.S.C. § 6506a(b).
                                                        113
                                                            As set forth infra § III.C.1, numerous federal agencies have stated that it is not
                                                        scientifically possible at this time to establish such a connection.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Federal Defendants and the other Intervenors, whose arguments ConocoPhillips adopts

                                                        by reference, Plaintiffs’ NPRPA arguments are without merit. 114

                                                        C.     The Agencies’ Determinations Regarding GHG Emissions Comply with the
                                                               ESA.

                                                               Plaintiffs assert new ESA-based GHG emission claims that they could have raised,

                                                        but did not, in the prior litigation. Specifically, Plaintiffs argue that Federal Defendants

                                                        should have consulted on how GHG emissions from Willow will impact global climate
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                                                        change and sea ice levels, and, in turn, cause effects to polar bears and ice seals. 115 But
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                                                        Plaintiffs identify no example where the agencies have ever engaged in such a
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                                                        consultation. That is unsurprising because, as outlined below, the U.S. Environmental

                                                        Protection Agency (“EPA”), the U.S. Geological Survey (“USGS”), FWS, and the

                                                        Secretary of Interior (among others) have all concluded that there is no way to connect

                                                        emissions from a specific GHG source or sources with specific impacts to animals at

                                                        specific locations. Without a way to connect the dots, the possible impacts associated

                                                        with GHG emissions do not meet the regulatory definition for “effects of the action,”

                                                        which must be “caused by the proposed action” and “reasonably certain to occur.” 116

                                                               Plaintiffs also give no reason why Willow should be the first project in ESA

                                                        history to require consultation on indirect GHG emissions. There is no such reason. The



                                                        114
                                                            The cases CBD cites are unrelated to the NPRPA or GHG downstream effects. See
                                                        NRDC v. Pritzker, 828 F.3d 1125, 1135 (9th Cir. 2016); Rock Creek All. v. U.S. Forest
                                                        Serv., 703 F. Supp. 2d 1152, 1170 (D. Mont. 2010).
                                                        115
                                                            CBD Br. at 35-41; SILA Br. at 34-39.
                                                        116
                                                            50 C.F.R. § 402.02.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 36 of 71
                                                        FSEIS projects Willow’s total direct and indirect emissions at an average of 4.32 million

                                                        MT per year. 117 For context, in 2019 alone, GHG emissions for the United States were

                                                        6,558.3 million MT and global emissions were 59,100 million MT. 118

                                                               Federal Defendants’ brief demonstrates that BLM appropriately limited the scope

                                                        of its consultation to only the “effects of the action” that are “caused by the proposed

                                                        action” and “reasonably certain to occur.” 119 Without repeating those arguments,

                                                        ConocoPhillips addresses three points. First, the scope of the Willow consultation is
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                                                        consistent with a long and unbroken chain of agency guidance and actions, and supported
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                                                        by Ninth Circuit case law. Second, Plaintiffs fail to establish standing to pursue their
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                                                        claims. Third, even if Plaintiffs had standing, their arguments are premised on a

                                                        misreading of the ESA and its regulations.

                                                               1.     Plaintiffs’ Arguments Conflict with Longstanding Agency Practice.

                                                               CBD concedes in a footnote that the scope of the ESA consultation for Willow is

                                                        consistent with guidance from the Solicitor of the Interior, but it suggests—incorrectly—

                                                        that this guidance is isolated. 120 In reality, that guidance is one of many agency decisions

                                                        reaching the same conclusion.




                                                        117
                                                            BLM_3512_AR820777. Federal Defendants’ briefs put this number at 9.268 million
                                                        MT per year, but that is actually the gross emissions that do not account for market
                                                        substitution. Net figures are provided at BLM_3513_AR820771, AR822452-454.
                                                        118
                                                            BLM_3512_AR820761, AR821127.
                                                        119
                                                            50 C.F.R. § 402.02.
                                                        120
                                                            CBD Br. at 39 n.8.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 37 of 71
                                                               In 2008, FWS listed the polar bear as a “threatened species” because “polar bear

                                                        habitat—principally sea ice—is declining throughout the species’ range” and “this

                                                        decline is expected to continue for the foreseeable future[.]” 121 FWS explained that most

                                                        of the observed increase in globally averaged temperatures is “very likely due to the

                                                        observed increase in anthropogenic GHG concentrations” and that the Arctic is likely to

                                                        be “ice-free” in the summer sometime in the 21st century. 122

                                                               In the listing rule, FWS addressed the “Regulatory Implications for Consultations
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                                                        under Section 7 of the Act” for projects that emit GHGs (like a power plant) and for “oil
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                                                        and gas development activities conducted on Alaska’s North Slope.” 123 FWS explained
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                                                        that Section 7 is limited to effects that are “reasonably certain to occur” and would not

                                                        occur “but for” the action under consultation. 124 Relying on Arizona Cattle Growers’

                                                        Ass’n v. United States Fish and Wildlife Service, 125 FWS explained that in order to

                                                        attribute effects to an action, it “must ‘connect the dots’ between its evaluation of effects

                                                        of the action and its assessment of take” and that “[t]he best scientific information

                                                        available to us today . . . has not established a causal connection between specific sources

                                                        and locations of emissions to specific impacts posed to polar bears or their habitat.” 126



                                                        121
                                                            73 Fed. Reg. 28,212, 28,302 (May 15, 2008) (see Addendum).
                                                        122
                                                            Id. at 28,230, 28,245.
                                                        123
                                                            Id. at 28,299-300.
                                                        124
                                                            Id. at 28,299.
                                                        125
                                                            Id. (citing Ariz. Cattle Growers’ Ass’n v. U.S. Fish & Wildlife Serv., 273 F.3d 1229
                                                        (9th Cir. 2001)).
                                                        126
                                                            Id.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -28-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 38 of 71
                                                        FWS thus concluded that future ESA consultations on GHG sources would not satisfy

                                                        even the low bar for actions that “may affect” polar bears. 127

                                                                And with respect to North Slope activities, FWS explained that consultation may

                                                        be required for localized operational and construction impacts but not for any

                                                        downstream GHG impacts: “there is no traceable nexus between the ultimate

                                                        consumption of the petroleum product and any particular effect to a polar bear or its

                                                        habitat” and, therefore, “the emissions effects resulting from the consumption of
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                                                        petroleum derived from North Slope or Chukchi Sea oil fields would not constitute an
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                                                        ‘indirect effect’ of any federal agency action to approve the development of that
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                                                        field.” 128

                                                                EPA reached the same conclusion by modelling the emissions from a hypothetical

                                                        power plant that would emit over 14 million MT of CO2 per year for 50 years. 129 EPA

                                                        showed that after 50 years of operation, there could be an approximate 0.01 percent

                                                        change in global CO2 concentrations, which could potentially correspond to a change in

                                                        global temperature between 0.00022 and 0.00035 degrees Celsius. EPA explained that

                                                        these changes, if they occurred, “would be too small to physically measure or detect in




                                                        127
                                                            Id. at 28,300.
                                                        128
                                                            Id. (emphasis added).
                                                        129
                                                            See Letter from Robert J. Meyers, Principal Deputy Assistant Administrator, Office of
                                                        Air and Radiation re: Endangered Species Act and GHG Emitting Activities (Oct. 3,
                                                        2008) https://www.regulations.gov/document/EPA-HQ-OAR-2009-0472-11543 (last
                                                        visited Aug. 30, 2023). This letter is discussed in detail at FWS_75_AR032375. A full
                                                        copy of the letter is provided in the Addendum to this brief at A-15 to A-23.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 39 of 71
                                                        the habitat” of listed species. 130 Accordingly, “EPA has determined that the risk of harm

                                                        to any listed species including . . . polar bears, or to the habitat of such species based on

                                                        the anticipated emissions of the model facility as described above, or any facility with

                                                        lower emissions, is too uncertain and remote to trigger ESA section 7(a)(2)

                                                        obligations.” 131 USGS also performed an analysis that reached this conclusion. 132

                                                               In this context, the Department of Interior reached the same conclusion,

                                                        concurring with the positions of FWS, EPA, and USGS. 133 Based on a careful review of
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                                                        the statute, regulations, and guidance, the Department (with signed concurrence of the
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                                                        Secretary), concluded that “any observed climate change effect on a member of a
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                                                        particular species or its critical habitat cannot be attributed to the emissions of any

                                                        particular source” and cannot be “reasonably certain to occur.” 134

                                                               In the years following, federal agencies have uniformly followed this approach. 135

                                                        As cited in Federal Defendants’ brief, 136 EPA relied on its own prior analysis, the

                                                        Bernhardt memorandum, and the polar bear listing decision to conclude that Section



                                                        130
                                                            Id. at A-22.
                                                        131
                                                            Id.
                                                        132
                                                            See Wash. Env’t Council v. Bellon, 732 F.3d 1131, 1143 (9th Cir. 2013) (discussing
                                                        USGS analysis and conclusions).
                                                        133
                                                            Memorandum from David Longley Bernhardt, Solicitor, U.S. Department of Interior,
                                                        re Guidance on the Applicability of the Endangered Species Act’s Consultation
                                                        Requirements to Proposed Actions Involving the Emission of Greenhouse Gasses (Oct. 3,
                                                        2008). FWS_75_AR032371-377.
                                                        134
                                                            FWS_75_AR032376.
                                                        135
                                                            BLM_3363_AR512743 (“the memo is still in effect”).
                                                        136
                                                            Federal Defendants’ Br. at 51-52.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 40 of 71
                                                        7(a)(2) does not require an evaluation of GHG emissions associated with vehicle fuel

                                                        standards (2012) or the Clean Power Plan (2015), explaining that “‘any potential for a

                                                        specific impact on listed species in their habitats associated with these very small changes

                                                        in average global temperature and ocean pH is too remote to trigger the threshold for

                                                        ESA section 7(a)(2).’” 137 Likewise, in 2022, FWS confirmed that “based on the best

                                                        scientific data available we are unable to draw a causal link between the effects of

                                                        specific GHG emissions and take of the emperor penguin[.]” 138
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                                                               The Ninth Circuit has recognized these limits in the standing context. In Bellon,
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                                                        the court evaluated a Clean Air Act challenge by environmental groups alleging that
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                                                        Washington State failed to regulate GHG emissions from five refineries with 5 million

                                                        MT per year of collective emissions. 139 The plaintiffs asserted injury based on aesthetic

                                                        and recreational harms from melting glaciers and other effects of climate change. The

                                                        court held they lacked standing because the alleged injuries were not “fairly traceable” to

                                                        Washington’s failure to regulate GHG emissions from the refineries, explaining:

                                                                      [T]here is a natural disjunction between Plaintiffs’ localized
                                                                      injuries and the greenhouse effect. Greenhouse gases, once
                                                                      emitted from a specific source, quickly mix and disperse in the
                                                                      global atmosphere and have a long atmospheric lifetime. . . .
                                                                      [T]here is limited scientific capability in assessing, detecting,
                                                                      or measuring the relationship between a certain GHG emission
                                                                      source and localized climate impacts in a given region. As the
                                                                      U.S. Geological Survey observed, “[i]t is currently beyond the
                                                                      scope of existing science to identify a specific source of CO2

                                                        137
                                                            80 Fed. Reg. 64,510, 64,641 (Oct. 23, 2015) (citation omitted) (see Addendum).
                                                        138
                                                            87 Fed. Reg. 64,700, 64,704 (Oct. 26, 2022) (see Addendum).
                                                        139
                                                            732 F.3d at 1138.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 41 of 71
                                                                      emissions and designate it as the cause of specific climate
                                                                      impacts at an exact location.” Ltr. From Director, U.S.
                                                                      Geological Survey to Director, U.S. Fish & Wildlife Service,
                                                                      The Challenges of Linking Carbon Emissions, Atmospheric
                                                                      Greenhouse Gas Concentrations, Global Warming, and
                                                                      Consequential Impacts (May 14, 2008).[140]

                                                        The court found there was no way to connect the causal chain, especially because the

                                                        refineries’ annual emissions (5 million MT per year) were a tiny fraction of global

                                                        emissions. The court explained that any related impacts are “scientifically indiscernible,
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                                                        given the emission levels, the dispersal of GHGs world-wide, and the absence of any
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                                                        meaningful nexus between Washington refinery emissions and global GHG
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                                                        concentrations now or as projected in the future.” 141

                                                               2.     Plaintiffs Lack Standing to Assert Their ESA GHG Claims. 142

                                                               For Article III standing, a plaintiff must satisfy three “irreducible constitutional

                                                        minimum” requirements: (1) he or she suffered an injury-in-fact that is concrete,

                                                        particularized, and actual or imminent; (2) the injury is fairly traceable to the challenged


                                                        140
                                                            Id. at 1143.
                                                        141
                                                            Id. at 1143-44 (internal quotation marks and citation omitted).
                                                        142
                                                            The State of Alaska argues that Plaintiffs lack standing on their ESA “take” claims
                                                        because no Plaintiff demonstrates a legitimate recreational interest in viewing polar bears
                                                        in the Petroleum Reserve. ConocoPhillips agrees with and incorporates that argument,
                                                        and writes separately to address standing related to the ESA GHG claims. In addition, the
                                                        lead plaintiff, SILA, does not appear to have standing in its own right because it is not a
                                                        separate legal entity but instead a “program” of plaintiff Northern Alaska Environmental
                                                        Center (“NAEC”). See NAEC, The Arctic Programs (2017),
                                                        https://northern.org/northern-center-programs/ (NAEC website listing SILA as a
                                                        “program” that is “housed” by NAEC); Sovereign Iñupiat for a Living Arctic,
                                                        https://www.silainuat.org/lastestnews (last visited Aug. 29, 2023) (SILA’s website
                                                        soliciting donations to NAEC: “Send a check to Northern Alaska Environmental Center,
                                                        830 College Rd, Fairbanks, AK 99701 and put SILA in the memo line.”).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -32-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 42 of 71
                                                        conduct; and (3) the injury is likely to be redressed by a favorable court decision. 143

                                                        “[T]he ‘fairly traceable’ and ‘redressability’ components for standing overlap and are

                                                        ‘two facets of a single causation requirement.’” 144 However, they are distinct in that

                                                        traceability “examines the connection between the alleged misconduct and injury,

                                                        whereas redressability analyzes the connection between the alleged injury and requested

                                                        judicial relief.” 145 “Redress need not be guaranteed, but it must be more than ‘merely

                                                        speculative.’” 146 A plaintiff bears the burden to prove standing at summary judgment, 147
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                                                        and must demonstrate standing for each claim asserted. 148
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                                                               Standing is substantially more difficult to prove when the plaintiff’s injury “arises
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                                                        from the government’s allegedly unlawful regulation (or lack of regulation) of someone

                                                        else[.]” 149 “In that case, the plaintiffs must ‘adduce facts showing that [the choices of

                                                        independent actors not before the courts] have been or will be made in such manner as to

                                                        produce causation and permit redressability of injury.’” 150 Moreover, “a plaintiff

                                                        [asserting a procedural harm] raising only a generally available grievance about




                                                        143
                                                            Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992); see also NRDC v. EPA, 542
                                                        F.3d 1235, 1244 (9th Cir. 2008).
                                                        144
                                                            Bellon, 732 F.3d at 1146 (quoting Allen v. Wright, 468 U.S. 737, 753 n.19 (1984)).
                                                        145
                                                            Id.
                                                        146
                                                            Juliana v. United States, 947 F.3d 1159, 1170 (9th Cir. 2020) (citation omitted).
                                                        147
                                                            Lujan, 504 U.S. at 561.
                                                        148
                                                            DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006).
                                                        149
                                                            Whitewater Draw Nat. Res. Conservation Dist. v. Mayorkas, 5 F.4th 997, 1013 (9th
                                                        Cir. 2021) (citation omitted), cert. denied, 142 S. Ct. 713 (2021).
                                                        150
                                                            Id. (citation omitted; alteration in original).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        government . . . and seeking relief that no more directly and tangibly benefits him than it

                                                        does the public at large[,] does not state an Article III case or controversy.” 151

                                                               Plaintiffs’ briefs each contain a single, conclusory paragraph addressing

                                                        standing. 152 Plaintiffs’ standing declarations make generic (and equivocal) assertions that

                                                        Willow will contribute to climate change, climate change is harming polar bears, and

                                                        Willow will therefore harm Plaintiffs’ members’ recreational or aesthetic interests in

                                                        viewing polar bears in the future. 153 This is precisely the alleged causal chain that Bellon
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                                                        found too attenuated to support standing. 154 Plaintiffs provide no evidence to connect
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                                                        Willow emissions to specific impacts at specific locations in the Arctic, let alone to
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                                                        animals inhabiting those locations. 155 Plaintiffs thus cannot demonstrate causation or

                                                        redressability.




                                                        151
                                                            Id. at 1014 (citation omitted; alteration in original).
                                                        152
                                                            SILA Br. at 16; CBD Br. at 16.
                                                        153
                                                            See, e.g., SILA Dkt. 105-3 ¶ 40 (Ritzman) (“If polar bears are impacted by Willow,
                                                        including by Willow’s greenhouse gas emissions further exacerbating climate change and
                                                        sea ice loss, it will harm my opportunities to experience the bears across the Arctic.”);
                                                        CBD Dkt. 115-4 ¶ 59 (Amstrup) (“I am injured by the greenhouse gas emissions that
                                                        result from the extraction and production of fossil fuels on public lands, and in particular,
                                                        I am injured by the approval of the Willow Project which will result in substantial global
                                                        emissions of greenhouse gases[.]”).
                                                        154
                                                            Bellon, 732 F.3d at 1143.
                                                        155
                                                            Wildearth Guardians v. Salazar, 880 F. Supp. 2d 77, 84 (D.D.C. 2012) (“The
                                                        fundamental problem with this theory of standing lies in the disconnect between
                                                        Plaintiffs’ recreational, aesthetic, and economic interests, which are uniformly local, and
                                                        the diffuse and unpredictable effects of GHG emissions.”), aff’d sub nom. WildEarth
                                                        Guardians v. Jewell, 738 F.3d 298 (D.C. Cir. 2013).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -34-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 44 of 71
                                                               Plaintiffs’ burden is particularly difficult to meet here, given that most of the

                                                        Willow emissions estimates in the FSEIS are indirect, and any allegation of injury must

                                                        rely on an attenuated downstream causal chain. The FSEIS estimates Willow emissions in

                                                        three categories. The first category is the direct emissions from constructing and

                                                        operating Willow. For Alternative E, the direct emissions are 773 thousand MT of CO2e

                                                        per year (or 23.19 million MT over 30 years). 156 The second category is indirect

                                                        emissions, which are an estimate of future emissions that occur when third parties use
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                                                        fuel made from Willow oil (e.g., by flying planes and driving vehicles). These estimates
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                                                        are based on many assumptions about future third-party behavior and future market
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                                                        forces, such as market substitution and no future government policies or voluntary

                                                        programs to offset those future emissions. 157 For Alternative E, the FSEIS estimates those

                                                        indirect emissions at 1.54 million MT per year (or 46.2 million MT over 30 years). 158 The

                                                        third category is the indirect foreign emissions, which are estimates based on

                                                        assumptions of how Willow will impact the global price of oil for the next 30 years and

                                                        how those changes will, in turn, affect consumer choices and demand. 159 For Alternative

                                                        E, the FSEIS estimates those indirect foreign emissions at 2.01 million MT per year (or




                                                        156
                                                            BLM_3512_AR820770.
                                                        157
                                                            BLM_3512_AR822452, AR822495-498.
                                                        158
                                                            BLM_3512_AR820770.
                                                        159
                                                            BLM_3512_AR820769-770, AR820777-778.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 45 of 71
                                                        60.273 million MT over 30 years). 160 Thus, the total direct and indirect emissions

                                                        estimated in the FSEIS is 4.32 million MT per year. 161

                                                               Bellon involved sources with 5 million MT per year of direct emissions. Willow

                                                        direct emissions are estimated at 773 thousand MT per year. Even the total Willow

                                                        estimated emissions (4.32 million MT per year) are still below just the direct emissions in

                                                        Bellon. Indirect emissions are far more attenuated than direct emissions because they are

                                                        remote in time and location and the product of future independent consumer choices,
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                                                        market forces, and policy decisions or regulation (or lack thereof). 162 Plaintiffs fail to
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                                                        “adduce facts showing that those choices have been or will be made.” 163
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                                                               Plaintiffs may try to distinguish Bellon, to no avail. For instance, they cite a 2016

                                                        paper by Notz and Streove (“Notz”) for the proposition that there is a generally observed

                                                        linear relationship between increased GHG and decreased summer sea ice, which roughly

                                                        correlates to a rate of 3 square meters of sea ice for every 1 MT of GHG. Any such




                                                        160
                                                            BLM_3512_AR820770, AR820777.
                                                        161
                                                            BLM_3512_AR820777.
                                                        162
                                                            See Fla. Audubon Soc’y v. Bentsen, 94 F.3d 658, 670 (D.C. Cir. 1996) (“The Supreme
                                                        Court itself has noted the improbability of establishing the necessary likelihood of some
                                                        result when that result depends on predicting the acts of even a single ‘interest group’
                                                        who is unrepresented in the instant litigation, especially when that group . . . is actually
                                                        composed of dozens of individual actors, each of whom must react to other market or
                                                        regulatory inputs.”) (citation omitted).
                                                        163
                                                            WildEarth Guardians v. U.S. Forest Serv., 70 F.4th 1212, 1217 (9th Cir. 2023)
                                                        (citations omitted).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 46 of 71
                                                        correlation does not fill the evidentiary gap. 164 That is because the paper does not

                                                        demonstrate a new “scientific capability in assessing, detecting, or measuring the

                                                        relationship between a certain GHG emission source and localized climate impacts in a

                                                        given region.” 165

                                                               Indeed, the limits of the Notz equation are demonstrated with simple arithmetic. If

                                                        each ton of direct emissions from Willow resulted in the direct loss of 3 square meters of

                                                        sea ice (as claimed by Notz), the sum per year is only 2.3 square kilometers of summer
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                                                        sea ice. 166 If the more speculative indirect emissions are included (4.32 million tons per
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                                                        year), the total is still only 12.9 square kilometers per year. 167 The Arctic ice sheet at its
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                                                        maximal area in 2022 was 12.898 million square kilometers (larger than the entire United

                                                        States) and the minimal summer area (September average) in 2022 was 3.474 million

                                                        square kilometers. 168 Annual variations in minimal sea ice extent can exceed a million


                                                        164
                                                            See Declaration of Dr. Anne Smith (“Smith Decl.”) ¶ 9 (“There is no aspect of the
                                                        Notz relationship that provides a basis for making location-specific estimates of sea-ice,
                                                        and the paper does not provide any information to project how any sea-ice losses might
                                                        translate into polar bear or ice seal population impacts.”); id. ¶¶ 30-32. ConocoPhillips
                                                        submits the Smith Declaration for the purpose of addressing standing. See Bellon, 732
                                                        F.3d at 1143-44 (relying on intervenor-defendant standing declaration). Because
                                                        Plaintiffs appear to rely only on the administrative record for the merits of their ESA
                                                        claims, ConocoPhillips does the same.
                                                        165
                                                            Id. at 1143 (emphasis added). “[T]he Notz relationship is scientifically uninformative
                                                        about impacts at more disaggregated scale, whether project it be project-specific or
                                                        location-specific.” Smith Decl. ¶ 30; id. ¶¶ 16, 31, 32.
                                                        166
                                                            773,000 (MT GHG) x 3 (square meters) = 2,319,000 (square meters) / 1,000,000
                                                        (square meters per square kilometer) = 2.3 square kilometers.
                                                        167
                                                            4,320,000 (MT GHG) x 3 (square meters) = 12,960,000 (square meters) / 1,000,000
                                                        (square meters per square kilometer) = 12.96 square kilometers. Id. ¶ 10.
                                                        168
                                                            Smith Decl. ¶ 11.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        square kilometers. For example, in 2022, there were 1.1 million more square kilometers

                                                        of summer sea ice extent than a decade earlier in 2012. 169 Sea ice changes less than 1,000

                                                        square kilometers cannot be reliably measured, and a change of 2.3 square kilometers (or

                                                        12.9 square kilometers if indirect emissions are included) of sea ice is thus not even

                                                        perceptible or scientifically measurable in the context of a sea ice sheet that is regularly

                                                        fluctuating in size by orders of magnitude more. 170 Notz provides no mechanism to show

                                                        where on the expansive Arctic ice sheet this (imperceptible) change will occur, how that
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                                                        change in that location will impact polar bears in a perceptible way, or how that change
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                                                        (many years from now) will perceptibly impact Plaintiffs’ recreational or aesthetic
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                                                        interests in polar bears. 171

                                                               Plaintiffs also cannot avoid dismissal by arguing they have asserted a “procedural”

                                                        injury. Bellon rejected this argument because those plaintiffs failed to show the

                                                        “‘meaningful contribution’ to global GHG levels” necessary to establish a causal

                                                        nexus. 172 The Ninth Circuit also recently confirmed that “the causation and redressability

                                                        requirements are ‘relaxed’ for procedural claims only in the sense that a plaintiff ‘need

                                                        not establish the likelihood that the agency would render a different decision after going

                                                        through the proper procedural steps.’” 173 A plaintiff still must show “a likelihood that the


                                                        169
                                                            Id.
                                                        170
                                                            Id. ¶¶ 10 & n.1, 12; id. ¶ 27 (“[T]he environmental impact of the additional Willow
                                                        project-related emissions is, in any practical sense of the term, nil.”).
                                                        171
                                                            Id. ¶¶ 9, 16, 32.
                                                        172
                                                            Bellon, 732 F.3d at 1144-46 (citation omitted).
                                                        173
                                                            WildEarth Guardians, 70 F.4th at 1216 (emphasis added; citation omitted).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 48 of 71
                                                        challenged action, if ultimately taken, would threaten a plaintiff’s interests” and the

                                                        procedural injury standard has no bearing when, as here, the alleged injury is caused by

                                                        “third parties not before the court.” 174 In other words, the “deprivation of a procedural

                                                        right without some concrete interest that is affected by the deprivation—a procedural

                                                        right in vacuo—is insufficient to create Article III standing.” 175 Thus, “a procedural-

                                                        rights plaintiff must show not only that the defendant’s acts omitted some procedural

                                                        requirement, but also that it is substantially probable that the procedural breach will cause
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                                                        the essential injury to the plaintiff’s own interest.” 176
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                                                               Here, Plaintiffs’ alleged climate change injuries result from potential third-party
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                                                        actions—future downstream emissions, future policies, and the actions of countless actors

                                                        and market forces—which may or may not come to pass. Thus, the “procedural” standing

                                                        test does not apply. 177 Moreover, Plaintiffs cannot show that any procedural breach of the

                                                        ESA with respect to Willow will cause future global climate change, let alone cause the

                                                        “essential injury” to Plaintiffs’ recreational or professional interest in ESA-listed

                                                        species. 178

                                                               For similar reasons, Plaintiffs fail to demonstrate redressability. Whether Plaintiffs

                                                        suffer global climate change impacts in the future that affect their interests in Arctic


                                                        174
                                                            Id. at 1217 (quoting Navajo Nation v. Dep’t of the Interior, 876 F.3d 1144, 1161 (9th
                                                        Cir. 2017)).
                                                        175
                                                            Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009).
                                                        176
                                                            Fla. Audubon Soc’y, 94 F.3d at 664-65.
                                                        177
                                                            WildEarth Guardians, 70 F.4th at 1216.
                                                        178
                                                            Fla. Audubon Soc’y, 94 F.3d at 664-65; Smith Decl. ¶ 27.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 49 of 71
                                                        species is a function of many factors, including total global GHG emissions (past,

                                                        present, and future) and global policy choices. 179 As the Ninth Circuit explained, while

                                                        “[t]here is much to recommend the adoption of a comprehensive scheme to decrease

                                                        fossil fuel emissions and combat climate change,” “any effective plan would necessarily

                                                        require a host of complex policy decisions entrusted . . . to the wisdom and discretion of

                                                        the executive and legislative branches.” 180

                                                               At bottom, Plaintiffs have asserted, at most, a “generally available grievance”
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                                                        related to the future of sea ice and Arctic species that “does not state an Article III case or
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                                                        controversy.” 181 Plaintiffs fail to establish Article III standing.
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                                                               3.      Plaintiffs’ Section 7 GHG Claims Have No Merit.

                                                               Plaintiffs’ arguments have no substantive merit anyway. BLM’s decision on the

                                                        GHG issue is reasonable and consistent with agency guidance and the settled practice of

                                                        every relevant agency in every ESA consultation nationwide for the last 15 years. There

                                                        is no basis to make Willow the first project in history that is subject to a different

                                                        standard.

                                                               BLM fully evaluated potential climate change impacts in the Willow consultation.

                                                        It evaluated “the possibility of establishing causal links between Willow-specific GHG


                                                        179
                                                            Smith Decl. ¶ 9 (“The Notz relationship indicates that any projection of future Arctic
                                                        sea-ice area depends on the future global emission path the world will follow and is not
                                                        accelerated in any meaningful way by Willow’s emissions.”); id. ¶¶ 17, 33.
                                                        180
                                                            Juliana, 947 F.3d at 1171-72 (climate injuries not redressable). Additionally, “[t]here
                                                        is little reason to think Congress assigned” to FWS the duty to develop and implement a
                                                        plan to address GHG emissions. West Virginia v. EPA, 142 S. Ct. 2587, 2612 (2022).
                                                        181
                                                            Mayorkas, 5 F.4th at 1014.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 50 of 71
                                                        emissions” and addressed the “potential” for those impacts to occur. 182 It also evaluated

                                                        Plaintiffs’ information (including Notz) and concluded that the information “does not

                                                        connect the impacts from GHG emissions for a specific, individual activity, such as

                                                        Willow, to a specific area for analysis which could affect the health of a discrete listed

                                                        species, such as polar bears or ice seals.” 183 BLM also concluded that these speculative

                                                        impacts are not “effects of the action” (because they are not “reasonably certain to

                                                        occur”). 184 FWS and NMFS agreed with BLM’s conclusions. 185 The ESA does not
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                                                        require consultation on remote and speculative impacts. 186 These reasoned scientific
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                                                        determinations are entitled to deference. 187 Plaintiffs’ arguments to the contrary are
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                                                        wrong for many reasons.

                                                               First, Plaintiffs misconstrue the ESA and its regulations. They lean heavily on the

                                                        “may affect” and “no effect” case law, claiming the “may affect” threshold was

                                                        exceeded. But the decision as to whether a project “may affect” is vested solely with




                                                        182
                                                            BLM_3505_AR811703-704.
                                                        183
                                                            BLM_3505_AR811704; see also FWS_75_AR032341-377.
                                                        184
                                                            Id.
                                                        185
                                                            BLM_3382_AR525073-074; BLM_3383_AR525081.
                                                        186
                                                            See Ground Zero Ctr. for Non-Violent Action v. U.S. Dep’t of Navy, 383 F.3d 1082,
                                                        1092 (9th Cir. 2004) (Navy not required to consult on remote possibility of missile
                                                        explosion).
                                                        187
                                                            Lands Council v. McNair, 629 F.3d 1070, 1074 (9th Cir. 2010) (“[W]e generally must
                                                        be ‘at [our] most deferential’ when reviewing scientific judgments and technical analyses
                                                        within the agency’s expertise.”) (second alteration in original; citation omitted).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        BLM, not FWS or NMFS. 188 The “may affect” test applies to the agency action, and here

                                                        BLM concluded that the action “may affect” polar bears and ice seals and produced a

                                                        biological assessment. 189 BLM appropriately defined the scope of the biological

                                                        assessment to exclude the incremental impact of GHG emissions associated with Willow

                                                        because such an uncertain impact does not meet the definition for “effects of the

                                                        action.” 190

                                                               Plaintiffs’ “may effect” arguments are not only factually wrong, but also self-
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                                                        defeating. To the extent Plaintiffs argue that FWS or NMFS made an improper “no
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                                                        effect” determination, that claim is against the wrong party because only the action
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                                                        agency makes that determination. 191 To the extent that Plaintiffs want to challenge a

                                                        supposed “no effect” determination by BLM, they have not alleged such a claim against

                                                        BLM in their complaints and have not satisfied the 60-day notice requirements for such a

                                                        claim. 192 Likewise, to the extent Plaintiffs argue that FWS or NMFS erroneously agreed

                                                        with a supposed “no effect” determination by BLM, that is also barred. A consulting


                                                        188
                                                            50 C.F.R. § 402.14(a); Defs. of Wildlife v. Flowers, 414 F.3d 1066, 1069-70 (9th Cir.
                                                        2005) (“The Federal agency makes the final decision on whether consultation is required,
                                                        and it likewise bears the risk of an erroneous decision.”) (citation omitted); 51 Fed. Reg.
                                                        19,926, 19,949 (June 3, 1986) (same) (see Addendum).
                                                        189
                                                            50 C.F.R. § 402.14(a) (“may affect” determination applies to the “action,” not specific
                                                        potential effects).
                                                        190
                                                            BLM_3505_AR811704.
                                                        191
                                                            Flowers, 414 F.3d at 1069-70.
                                                        192
                                                            Franks v. Salazar, 816 F. Supp. 2d 49, 58 n.5 (D.D.C. 2011) (“[P]laintiffs cannot use
                                                        their summary judgment briefing to press [ESA] claims not raised in their amended
                                                        complaint.”); see also Sw. Ctr. for Biological Diversity v. U.S. Bureau of Reclamation,
                                                        143 F.3d 515, 520 (9th Cir. 1998); 16 U.S.C. § 1540(g)(2).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 52 of 71
                                                        agency’s agreement (or disagreement) with a “no effect” determination is “not final

                                                        agency action[]” and “therefore not subject to judicial review under the APA.” 193

                                                               Second, Plaintiffs’ reading of the ESA to require consideration of all potential

                                                        effects of GHG emissions would turn the consultation process into a useless morass. The

                                                        “effects of the action” establish the geographic limits on consultation (called the “action

                                                        area”) and also the species to be evaluated. 194 Because GHGs “once emitted from a given

                                                        source, become well mixed in the global atmosphere,” 195 Plaintiffs’ argument necessarily
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                                                        requires the “action area” for any action with direct or indirect GHG emissions (which is
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                                                        almost all actions) to be the entire Earth, in which case, for each consultation, the “may
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                                                        effect” test would have to be applied to all 1,300 or so listed species throughout the

                                                        world. That is obviously impractical (and of little or no value). 196




                                                        193
                                                            Sierra Forest Legacy v. U.S. Forest Serv., 598 F. Supp. 2d 1058, 1069 (N.D. Cal.
                                                        2009); Inst. for Fisheries Res. v. Burwell, No. 16-cv-01574-VC, 2016 WL 4529517, at *2
                                                        (N.D. Cal. Aug. 30, 2016) (dismissing challenge to FWS agreement with no-effect
                                                        determination because the “Service’s letter was not ‘final agency action’ within the
                                                        meaning of 5 U.S.C. § 704”); see Endangered Species Act Consultation Handbook
                                                        (March 1998) at 3-12 (“Although not required, an action agency may request written
                                                        concurrence from the Services that the proposed action will have no effect on listed
                                                        species or critical habitat. This concurrence is useful for the administrative record.”) (see
                                                        Addendum).
                                                        194
                                                            50 C.F.R. §§ 402.02 (“Action area means all areas to be affected directly or indirectly
                                                        by the Federal action and not merely the immediate area involved in the action.”),
                                                        402.14(c)(1)(ii), (iii) (action area sets scope of consultation and species evaluated).
                                                        195
                                                            FWS_75_AR032375; Am. Elec. Power Co. v. Connecticut, 564 U.S. 410, 422 (2011)
                                                        (“Greenhouse gases once emitted become well mixed in the atmosphere[.]”) (internal
                                                        quotation marks and citation omitted).
                                                        196
                                                            See supra note 180 (citing West Virginia, 142 S. Ct. 2587).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                               Third, Plaintiffs’ cherry-picking of words in BLM’s memorandum (“specific” and

                                                        “granular”) ignores that BLM expressly applied the “reasonably certain to occur”

                                                        standard. 197 The “granular” and “specific” details BLM said were missing were the

                                                        elements necessary to show a causal connection. These elements include “[w]here in the

                                                        Arctic the reduction in sea ice extent would occur,” “[t]he type of sea ice affected, such

                                                        as first-year or multi-year ice,” “[w]hether that sea ice is utilized by polar bears,” “[t]he

                                                        reason(s) why polar bears utilize a particular area of sea ice,” and “whether sea ice of
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                                                        sufficient extent and thickness would persist in that area to support continued use by
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                                                        polar bears and their prey.” 198 Without information to answer these questions, BLM
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                                                        would only be speculating about effects.

                                                               Fourth, Plaintiffs’ citations to American Fuel & Petrochemical Manufacturers v.

                                                        EPA 199 and Growth Energy v. EPA 200 are inapposite. In American Fuel, EPA simply

                                                        failed to make an effects determination and, therefore, “did not comply with its

                                                        obligations under the ESA.” 201 In Growth Energy, EPA made a “no effect” determination

                                                        that was arbitrary and capricious because it was contrary to EPA’s own report. 202 Here,

                                                        by contrast, BLM made a “may affect” determination and produced a biological




                                                        197
                                                            BLM_3505_AR811704; 50 C.F.R. § 402.14(g)(7).
                                                        198
                                                            BLM_3505_AR811705.
                                                        199
                                                            937 F.3d 559 (D.C. Cir. 2019).
                                                        200
                                                            5 F.4th 1 (D.C. Cir. 2021).
                                                        201
                                                            937 F.3d at 598.
                                                        202
                                                            5 F.4th at 31.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        assessment that appropriately limited the “effects of the action” to those that are

                                                        “reasonably certain to occur,” and the Services agreed. 203

                                                               Fifth, Plaintiffs’ “best available science” arguments actually undermine their

                                                        claims. For example, although CBD claims that “models estimate the specific impacts in

                                                        the Arctic from incremental greenhouse gas emissions,” 204 they just refer to the Notz

                                                        paper, which is in the administrative record, and which BLM evaluated and concluded

                                                        “does not connect the impacts from GHG emissions for a specific, individual activity,
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                                                        such as Willow, to a specific area for analysis which could affect the health of a discrete
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                                                        listed species, such as polar bears or ice seals.” 205
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                                                               As another example, CBD relies on a litigation declaration by CBD member

                                                        Steven Amstrup filed in a different case challenging an EPA rule known as “SAFE II.” 206

                                                        There, Amstrup says the SAFE II rule will produce 7.8 billion MT of CO2, and opines

                                                        that “polar bears in Alaska face an additional ice-free day . . . for each 9.0 billion metric

                                                        tons of CO2 emitted from fossil fuel combustion and industrial processes.” 207 Tellingly,

                                                        Amstrup does not do the same math for Willow’s emissions. That is perhaps because if

                                                        9.0 billion MT of CO2 supposedly equals one additional ice-free day, then 6.25 million

                                                        tons creates an ice-free minute, and, by that calculation, the combined 30 years of Willow


                                                        203
                                                            BLM_3505_AR811704; BLM_3360_AR512119; BLM_3382_AR525073-074;
                                                        BLM_3383_AR525081; see also 50 C.F.R. § 402.14(a), (g).
                                                        204
                                                            CBD Br. at 40.
                                                        205
                                                            BLM_3505_AR811704; see also FWS_75_AR032341-377.
                                                        206
                                                            CBD Br. at 40.
                                                        207
                                                            BLM_3462_AR725315.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        emissions—assuming all the speculative indirect and foreign emissions actually occur

                                                        (129.7 million MT)—would mean there could be 20 minutes more ice-free time in

                                                        2055. 208 This “consequence is so remote in time from the action under consultation that it

                                                        is not reasonably certain to occur[.]” 209 Besides, whether or when there will be ice-free

                                                        days in the Arctic is a function of past, present, and future global emissions, combined

                                                        with other global forces, not the result of a single project. 210

                                                               In sum, the agencies fully and fairly complied with their obligation to consider the
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                                                        “effects of the action.” Plaintiffs’ claims should be dismissed.
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                                                        D.     FWS’s “Take” Analyses and Conclusions Comply with the ESA.
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                                                               This Court previously ruled that FWS: (1) improperly relied on uncertain and

                                                        unspecified mitigation measures to reach its no-jeopardy conclusion; (2) failed to

                                                        sufficiently explain its zero non-lethal take conclusion for polar bears; and

                                                        (3) impermissibly authorized hazing take automatically upon issuance of future MMPA

                                                        authorizations. 211 FWS addressed all these issues on remand.




                                                        208
                                                            9,000,000,000 MT divided by 24 hours and divided by 60 minutes = 6.25 million MT.
                                                        209
                                                            50 C.F.R. § 402.17(b)(1).
                                                        210
                                                            SILA says the FSEIS “acknowledged that Willow’s climate impacts would be
                                                        significant.” SILA Br. at 36-37. This is misleading. SILA cites a discussion of the
                                                        “Climate Test,” which was “developed by NRDC” lawyers to “test” a project’s “potential
                                                        impact on U.S. climate commitments and goals” to determine whether an EIS is required.
                                                        BLM_3512_AR820771, AR822466-68. NRDC’s test results in a “significance” finding
                                                        for any oil project. BLM_3512_AR822466. The FSEIS acknowledges the NRDC test but
                                                        does not find that potential Willow GHG emissions are a significant impact. See id.
                                                        211
                                                            SILA, 555 F. Supp. 3d at 800-03.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 56 of 71
                                                               Plaintiffs do not challenge FWS’s responses to issues (1) and (3), nor do they

                                                        challenge FWS’s reaffirmed “no-jeopardy” determination, which rests on FWS’s

                                                        conclusion that the agency does “not anticipate population level responses within the SBS

                                                        [Southern Beaufort Sea] stock, much less the species which numbers approximately

                                                        26,000 individuals.” 212 Plaintiffs, however, remain dissatisfied with FWS’s zero non-

                                                        lethal take determination. Their renewed challenge on that issue should be denied.

                                                               1.     FWS Lawfully Interpreted Its Own Regulatory Definition.
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                                                               Plaintiffs first attack FWS’s interpretation of its regulatory definition for “harass.”
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                                                        FWS defines “harass” as “an intentional or negligent act or omission which creates the
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                                                        likelihood of injury to wildlife by annoying it to such an extent as to significantly disrupt

                                                        normal behavioral patterns which include, but are not limited to, breeding, feeding, or

                                                        sheltering.” 213 Plaintiffs contend that FWS’s interpretation of “harass,” as stated in the

                                                        2023 Biological Opinion (“BiOp”), conflicts with this regulatory definition. 214 They are

                                                        wrong.




                                                        212
                                                            FWS_76_AR032537. Section 7 determinations for the polar bear are based on the
                                                        listed species, not populations within the species (unless they are designated a “distinct
                                                        population segment”; no polar bear populations are so designated). The species has
                                                        remained at a robust 26,000 since it was listed in 2008. Contrary to SILA’s claim that the
                                                        SBS population is “rapidly declining” (SILA Br. at 11), that population, which ranges
                                                        “over an expansive area, extending from Icy Cape and Point Hope in the Chukchi Sea
                                                        eastward to Cape Bathurst, Northwest Territories, Canada,” has “remained relatively
                                                        stable [at approximately 900 bears] since the decline that occurred in the mid-2000s.”
                                                        FWS_78_AR364218, AR036769.
                                                        213
                                                            50 C.F.R. § 17.3 (emphasis added).
                                                        214
                                                            CBD Br. at 41; SILA Br. at 39-40.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                                 Initially, Plaintiffs’ arguments rest on a misunderstanding of ESA “take” by

                                                        “harassment” and “harm.” FWS’s definitions of those terms establish four categories of

                                                        acts or omissions that constitute such take:

                                                                 1.      Intentionally killing or injuring listed species. This is “harm.” 215

                                                                 2.      Intentionally causing the likelihood of injury to listed species by

                                                                         annoyance. This is “harass[ment].”

                                                                 3.      Negligently causing the likelihood of injury to listed species by annoyance.
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                                                                         This is also “harass[ment].”
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                                                                 4.      Significantly modifying or degrading habitat to the extent that listed species
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                                                                         are actually killed or injured, regardless of intent or negligence. This is

                                                                         “harm.”

                                                                 Plaintiffs’ argument would add a new category of take by harassment not

                                                        contemplated by the regulations—namely, unintentional, non-negligent acts that create a

                                                        likelihood of injury (but do not actually injure). As explained below, the regulation’s

                                                        plain language and history show that FWS never intended to extend “take” to such acts.

                                                                 Kisor v. Wilkie establishes the framework governing challenges to an agency’s

                                                        interpretation of its own regulation. 216 A court must first determine whether a regulation

                                                        is “genuinely ambiguous,” by “carefully consider[ing] the text, structure, history, and




                                                        215
                                                              See 50 C.F.R. § 17.3 (“harm” must “actually kill[] or injure[] wildlife”).
                                                        216
                                                              139 S. Ct. 2400 (2019) (plurality).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -48-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 58 of 71
                                                        purpose” of the regulation. 217 If the regulation is not ambiguous, “[t]he regulation then

                                                        just means what it means—and the court must give it effect[.]” 218 If a regulation is

                                                        genuinely ambiguous, a court will uphold the agency’s interpretation if it is reasonable

                                                        and “the character and context of the agency interpretation entitles it to controlling

                                                        weight.” 219

                                                               The “harass” definition is unambiguous. Its plain language applies to conduct that

                                                        intentionally or negligently creates the likelihood of injury. That is exactly what FWS
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                                                        concluded in the BiOp.
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                                                               The Court’s analysis could end there, but the regulatory history forecloses any
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                                                        suggestion that the regulation is ambiguous or that FWS misinterpreted it. 220 That

                                                        regulatory history, which is recounted in Federal Defendants’ brief, shows that, in 1975,

                                                        FWS considered and expressly rejected the idea—urged by Plaintiffs—that

                                                        “harass[ment]” should apply “to any action, regardless of intent or negligence.” 221 The




                                                        217
                                                            Id. at 2415 (internal quotation marks and citation omitted).
                                                        218
                                                            Id.
                                                        219
                                                            Id. at 2416.
                                                        220
                                                            See id. at 2415 (courts consider text and history before concluding that a regulation is
                                                        ambiguous); Sec’y of Lab. v. Seward Ship’s Drydock, Inc., 937 F.3d 1301, 1309 (9th Cir.
                                                        2019) (ambiguity in the regulation “is dispelled by the purpose of the [regulation] and its
                                                        regulatory history,” including statements in Federal Register); Amazon.com, Inc. v.
                                                        Comm’r of Internal Revenue, 934 F.3d 976, 993 (9th Cir. 2019) (relying on “drafting
                                                        history of the regulations and other indicators of [the agency’s] contemporaneous
                                                        intent”).
                                                        221
                                                            See 40 Fed. Reg. 44,412, 44,413 (Sept. 26, 1975); 40 Fed. Reg. 28,712, 28,714 (July
                                                        8, 1975); 46 Fed. Reg. 29,490, 29,491 (June 2, 1981) (see Addendum for all).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -49-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 59 of 71
                                                        regulatory history confirms the regulation’s plain text: to count as “harass[ment],”

                                                        conduct must intentionally or negligently create the likelihood of injury.

                                                               Even if the definition of “harass” were ambiguous, FWS’s interpretation would be

                                                        reasonable. FWS’s interpretation gives meaning to both “intentional” and “negligent,” is

                                                        rationally explained in the BiOp, and is consistent with the regulatory history. 222

                                                        Additionally, “the character and context” of FWS’s interpretation “entitles it to

                                                        controlling weight” because the interpretation, which relies on a Solicitor memorandum
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                                                        published in the Federal Register in 1981, is presented in a formal biological opinion—
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                                                        the statutorily required culmination of a Section 7 consultation. 223 The BiOp plainly
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                                                        “emanate[s] from” an agency “using [a] vehicle[] understood to make authoritative

                                                        policy[.]” 224 It is therefore an “authoritative” or “official” position and not an “ad hoc

                                                        statement not reflecting the agency’s views.” 225 The fulsome explanation in the BiOp




                                                        222
                                                            Plaintiffs do not challenge either FWS’s conclusion that ConocoPhillips would not
                                                        intentionally harass wildlife or that the BiOp’s mitigation measures create a standard of
                                                        care that will be adhered to. See FWS_76_AR032541.
                                                        223
                                                            Kisor, 139 S. Ct. at 2416; 16 U.S.C. § 1536(b); Bennett v. Spear, 520 U.S. 154, 156
                                                        (1997) (a biological opinion “constitutes final agency action . . . [and] marks the
                                                        consummation of the agency’s decisionmaking process”).
                                                        224
                                                            Kisor, 139 S. Ct. at 2416; see id. (official staff memorandum published in Federal
                                                        Register constitutes agency’s official position); Nat’l Lifeline Ass’n v. Fed. Commc’ns
                                                        Comm’n, 983 F.3d 498, 511 (D.C. Cir. 2020) (same for agency order published in Federal
                                                        Register); Walker v. BOKF, Nat’l Ass’n, 30 F.4th 994, 1012 (10th Cir. 2022) (interpretive
                                                        letter drafted by senior agency official constitutes agency’s official position).
                                                        225
                                                            Kisor, 139 S. Ct. at 2416-17; cf. id. (examples of ad hoc statements include speech of
                                                        a mid-level employee or informal memorandum recounting a telephone conversation
                                                        between employees).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 60 of 71
                                                        reflects FWS’s “‘fair and considered judgment’” 226 and, as FWS intended, “give[s]

                                                        proper effect to all elements of the definition of ‘harass.’” 227

                                                               Plaintiffs’ arguments ignore Kisor and the regulatory history, and give no meaning

                                                        to the words “intentional or negligent” in the regulatory definition. 228 Plaintiffs claim that

                                                        FWS’s interpretation reads “incidental take” out of the ESA, but that is plainly wrong

                                                        since both “harass[ment]” and “harm” can occur incidentally. A negligent act that

                                                        incidentally causes the likelihood of injury to a listed animal is not done for the purpose
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                                                        of harassing the animal. And “harm,” which FWS applies to acts of “significant habitat
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                                                        modification or degradation,” can occur incidental to activities that do not have the
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                                                        purpose of harming an animal. 229 FWS’s interpretation does not alter the meaning or

                                                        purpose of “incidental take.”




                                                        226
                                                            Id. at 2417 (citation omitted).
                                                        227
                                                            FWS_76_AR032542.
                                                        228
                                                            See Kungys v. United States, 485 U.S. 759, 778 (1988) (plurality) (“[N]o provision
                                                        should be construed to be entirely redundant.”).
                                                        229
                                                            50 C.F.R. § 17.3. To the extent the legislative history CBD relies on is even relevant
                                                        (CBD Br. at 43), it simply stands for the proposition that “harass[ment]” can be
                                                        “intentional or not,” as explained by FWS in its 1981 final rule. 46 Fed. Reg. at 29,491
                                                        (quoting same legislative history). And, obviously, a “negligent” act is not intentional.
                                                        Moreover, CBD’s legislative history argument appears to take issue with the regulation
                                                        itself on the basis of alleged statutory inconsistency. But CBD has not pled a facial
                                                        challenge to the regulation and, in any event, the six-year statute of limitations for such a
                                                        claim has run. See 28 U.S.C. § 2401(a).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 61 of 71
                                                               In sum, FWS’s regulation “means what it means.” 230 Plaintiffs may disagree with

                                                        FWS’s approach, but they have not facially challenged the regulation, and FWS’s

                                                        interpretation in the BiOp is consistent with that regulation.

                                                               2.     Plaintiffs’ Challenges to FWS’s “Take” Conclusions Have No Merit.

                                                               After evaluating all potential polar bear disturbance events, FWS concluded that

                                                        no disturbance would cause either actual injury (harm) or the likelihood of injury

                                                        (harassment). Plaintiffs’ challenges to this separate basis for FWS’s conclusion that non-
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                                                        lethal polar bear take will not occur lack merit.
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                                                               The fatal flaw in Plaintiffs’ arguments is that they fail to identify any evidence that
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                                                        potential polar bear disturbance will result in the likelihood of injury or that any such

                                                        disturbance will be “biologically significant.” Instead, Plaintiffs challenge FWS’s

                                                        conclusions based on its candid assessment of “whether activities associated with the

                                                        Project could potentially disturb polar bears.” 231 They think FWS should have concluded

                                                        that potential incidents of disturbance would amount to “take.” But these arguments

                                                        conflict with what FWS actually concluded—i.e., that any disturbances “would not be

                                                        biologically significant” and “would be limited to minor and short-term behavioral

                                                        changes, that do not result in a likelihood of injury.” 232 Although Plaintiffs wanted a




                                                        230
                                                            Kisor, 139 S. Ct. at 2415.
                                                        231
                                                            FWS_76_AR032512.
                                                        232
                                                            FWS_76_AR032516, AR032529.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 62 of 71
                                                        different conclusion, FWS’s determinations are reasonable, explained in the record, and

                                                        entitled to the highest degree of deference. 233

                                                               For instance, CBD’s arguments assume that because some Willow activity could

                                                        happen where bears may be, and because such activity “can” have negative effects on

                                                        bears, then “take” must occur. 234 But CBD cites no evidence that such effects will be

                                                        “biologically significant” or create a “likelihood of injury.” Additionally, CBD’s

                                                        insinuation that FWS relied on a single mitigation measure to conclude that vehicle
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                                                        traffic would not cause a “likelihood of injury” is false. 235 FWS explained that most
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                                                        traffic associated with the project will “take place well inland from the coast where polar
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                                                        bears are less likely to occur.” 236 It further explained that because the discrete area where

                                                        vehicles are more likely to be near bears (Oliktok) “is currently heavily used by existing

                                                        Industry operators, [it] do[e]s not expect the increased noise and activity associated with

                                                        the Proposed Action would result in measurable project-specific disturbance to bears

                                                        transiting these areas.” 237 FWS also noted that vehicle traffic is “tightly regulated in

                                                        industry developments, including speed limits on in-field thoroughfares.” 238


                                                        233
                                                            See Balt. Gas & Elec. Co. v. Nat. Res. Def. Council, Inc., 462 U.S. 87, 103 (1983)
                                                        (“When examining this kind of scientific determination . . . a reviewing court must
                                                        generally be at its most deferential.”).
                                                        234
                                                            See CBD Br. at 44-45 (repeatedly using “can”).
                                                        235
                                                            Id. at 46.
                                                        236
                                                            FWS_76_AR032516; see FWS_76_AR032509-510 (“The majority of the Action Area
                                                        is farther inland than polar bears typically occur.”); see also FWS_76_AR032510 (Figure
                                                        7.2); BLM_3360_AR512218.
                                                        237
                                                            FWS_76_AR032516.
                                                        238
                                                            FWS_76_AR032520.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 63 of 71
                                                               SILA’s arguments fare no better. SILA points to FWS’s statement that “project

                                                        related disturbances potentially include disruption of normal activities, displacement from

                                                        foraging and resting areas, and interruption of movement patterns,” 239 and argues that

                                                        “[s]uch impacts would logically create a likelihood of injury to polar bears.” 240 But that is

                                                        SILA’s non-expert opinion, based on FWS’s identification of “potential” impacts.

                                                        Applying its expertise, FWS concluded that any such potential disruption “would be

                                                        limited to short-term changes in behavior that would not be biologically significant,” not
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                                                        create a likelihood of injury, and therefore not constitute ESA “take.” 241
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                                                               SILA also faults FWS’s evaluation of potential disturbance of denning adult bears,
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                                                        complaining that the agency “largely limited” its analysis to effects on cubs. 242 But SILA

                                                        does not dispute either that FWS’s focus on potential cub effects was rational or that

                                                        FWS evaluated potential effects on denning adult bears. 243 FWS first examined the

                                                        location of Willow project activities in relation to areas used by polar bears, finding that

                                                        “small numbers of dens have been documented within or just beyond the discrete

                                                        boundary of the Action Area within the last 100 years” and that “almost all were

                                                        concentrated in coastal areas [away from the core Willow project], near Oliktok Dock,




                                                        239
                                                            FWS_76_AR032513.
                                                        240
                                                            SILA Br. at 44.
                                                        241
                                                            FWS_76_AR032516.
                                                        242
                                                            SILA Br. at 43.
                                                        243
                                                            See FWS_76_AR032517-520.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 64 of 71
                                                        and nearby barrier islands . . . .” 244 Moreover, FWS explained, the “proposed activities at

                                                        Oliktok dock (barging, lightering, and screeding) would be limited to open-water

                                                        periods” and, therefore, “impacts to denning polar bears associated with activities at

                                                        Oliktok Dock would be discountable due to lack of temporal overlap with the denning

                                                        period.” 245

                                                               FWS also quantitatively evaluated the potential for “take” by modelling potential

                                                        den disturbance events. 246 For any such events, FWS determined that the harm to the cub
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                                                        would constitute MMPA Level A harassment because it would cause a “potential to
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                                                        injure,” or actually injure, the cub, resulting in either “harm” or “harassment” under the
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                                                        ESA. 247 FWS also determined that, for any such events, the adult female would

                                                        experience MMPA Level B harassment, which creates a “potential to disturb” but not a

                                                        “potential to injure,” and therefore does not constitute ESA “take,” which requires either

                                                        actual injury (harm) or the likelihood of injury (harass). 248 SILA itself refers to such




                                                        244
                                                            FWS_76_AR032518 (“The majority of the Action Area is farther inland than where
                                                        most polar bear dens occur, with the exception of the coastal area near Oliktok Dock . . . .
                                                        [I]n northern Alaska, west of the Kavik River, 95% of all historical confirmed and
                                                        probable dens occurred within 4.5 km (2.8 mi) of the Beaufort Sea coast.”).
                                                        245
                                                            FWS_76_AR032517.
                                                        246
                                                            See FWS_76_AR032542; AR032575-582.
                                                        247
                                                            16 U.S.C. § 1362(18)(A)(i), (C) (“Level A harassment” is “any act of pursuit, torment,
                                                        or annoyance which . . . has the potential to injure a marine mammal or marine mammal
                                                        stock in the wild.”).
                                                        248
                                                            FWS_76_AR032580; 16 U.S.C. § 1362(18)(A)(ii), (D) (“Level B harassment” is “any
                                                        act of pursuit, torment, or annoyance which . . . has the potential to disturb a marine
                                                        mammal . . . .”).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 65 of 71
                                                        potential interactions with denning adults as “non-injurious.” 249 In any event, FWS’s

                                                        model predicted zero den disturbance events, which “supports [FWS’s] conclusion that

                                                        no incidental ESA take of denning bears is anticipated to result from the Proposed

                                                        Action.” 250

                                                               In sum, FWS’s assessment of potential “take” on remand is well-supported by the

                                                        record. Plaintiffs’ claims should be rejected.

                                                        E.     Vacatur Is Unwarranted.
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                                                               Plaintiffs request, in cursory fashion, that the Court vacate the challenged agency
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                                                        decisions if it finds error. In that event, ConocoPhillips respectfully requests
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                                                        supplemental briefing and argument on remedy because the appropriate remedy will

                                                        necessarily hinge on the type of legal error found by the Court, if any, which is presently

                                                        unknown. Additionally, although ConocoPhillips addresses the consequences of vacatur

                                                        below and in the Dunn Declaration, those consequences will be clearer and more

                                                        informed after this Court’s decision. Given the enormous import of the Willow project to

                                                        the United States, ConocoPhillips, Alaska Native communities, and the State of Alaska,

                                                        any remedy should be addressed in a fully informed manner.

                                                               Vacatur is “a species of equitable relief,” and “courts are not mechanically

                                                        obligated to vacate agency decisions that they find invalid.” 251 “Whether agency action


                                                        249
                                                            SILA Br. at 43 n.162.
                                                        250
                                                            FWS_76_AR032542.
                                                        251
                                                            Pac. Rivers Council v. U.S. Forest Serv., 942 F. Supp. 2d 1014, 1017 (E.D. Cal.
                                                        2013); see also Nat’l Wildlife Fed’n v. Espy, 45 F.3d 1337, 1343 (9th Cir. 1995)

                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 66 of 71
                                                        should be vacated depends on how serious the agency’s errors are ‘and the disruptive

                                                        consequences of an interim change that may itself be changed.’” 252 The Ninth Circuit has

                                                        made clear that when considering whether vacatur is appropriate, courts should consider

                                                        economic and other practical concerns. 253 Indeed, courts often decline to vacate when

                                                        “there is at least a serious possibility that the [agency] will be able to substantiate its

                                                        decision on remand.” 254
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                                                        (“Although the district court has power to do so, it is not required to set aside every
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                                                        unlawful agency action.”).
                                                        252
                                                            Cal. Cmtys. Against Toxics v. U.S. EPA, 688 F.3d 989, 992 (9th Cir. 2012) (quoting
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                                                        Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir.
                                                        1993)).
                                                        253
                                                            Id. at 994; see Cook Inletkeeper v. Raimondo, 541 F. Supp. 3d 987, 993 (D. Alaska
                                                        2021) (rejecting plaintiffs’ contention that “the primary consequences to be considered
                                                        when assessing the disruptive impact of vacatur are environmental harms”); Pac. Rivers,
                                                        942 F. Supp. 2d at 1018 (rejecting plaintiffs’ attempt to limit analysis of vacatur to
                                                        potential environmental harm, concluding “courts should consider economic and other
                                                        practical concerns”); Sierra Forest Legacy v. Sherman, 951 F. Supp. 2d 1100, 1106 (E.D.
                                                        Cal. 2013) (The “determination of when to remand without vacatur should not be limited
                                                        to situations where it is necessary to avoid environmental harm, but should instead be
                                                        based on a broader examination of the equities.”).
                                                        254
                                                            Allied-Signal, 988 F.2d at 151; see Nat’l Fam. Farm Coal. v. U.S. E.P.A., 966 F.3d
                                                        893, 929 (9th Cir. 2020) (remanding without vacatur where agency would “likely be able
                                                        to offer better reasoning and adopt the same rule on remand” (internal quotation marks
                                                        and citation omitted)); Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405 (9th Cir.
                                                        1995) (“[W]hen equity demands, the regulation can be left in place while the agency
                                                        follows the necessary procedures.”); Fox Television Stations, Inc. v. FCC, 280 F.3d 1027,
                                                        1049 (D.C. Cir. 2002) (declining to vacate because the “probability that the [agency] will
                                                        be able to justify retaining the [rule] is sufficiently high”); WildEarth Guardians v. Zinke,
                                                        368 F. Supp. 3d 41, 85 (D.D.C. 2019) (declining to vacate “in light of the serious
                                                        possibility that BLM may be able to substantiate the conclusions drawn” on remand); Ctr.
                                                        for Biological Diversity v. U.S. Forest Serv., No. 2:17-cv-372, 2021 WL 855938, at *3
                                                        (S.D. Ohio Mar. 8, 2021) (concluding that “a serious possibility that the [agency] will be
                                                        able to substantiate its decision on remand . . . weighs against complete vacatur”
                                                        (brackets in original; internal quotation marks and citation omitted)).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 67 of 71
                                                               Courts also decline to vacate when doing so would have disruptive

                                                        consequences. 255 Here, the disruptive consequences of vacatur would be enormous. The

                                                        Willow project is well underway. In the four months since this Court denied Plaintiffs’

                                                        preliminary injunction motions, ConocoPhillips has opened a new gravel mine, built two

                                                        miles of gravel road from an extant pad west toward Willow, and begun construction of a

                                                        boat ramp for local resident access to subsistence resources. 256 Numerous contractors are

                                                        presently fabricating equipment for the project, such as Willow Operations Center
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                                                        modules and pipe and culverts for road crossings. 257 And major construction work is
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                                                        planned for the next two seasons (and beyond). 258 That work will sustain or create
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                                                        approximately 1,800 jobs in the next year alone, many of which benefit Alaska Native

                                                        people and businesses. 259 Nanuq, Inc., alone, anticipates having approximately 550

                                                        employees working on Willow construction this next season. 260 Through July 2023,




                                                        255
                                                            See Cal. Cmtys., 688 F.3d at 992; Nat’l Parks Conservation Ass’n v. Semonite, 422 F.
                                                        Supp. 3d 92 (D.D.C. 2019) (declining to vacate when agency failed to issue an EIS);
                                                        Audubon Soc’y of Portland v. U.S. Army Corps of Eng’rs, No. 3:15-cv-665-SI, 2016 WL
                                                        4577009, at *13 (D. Or. Aug. 31, 2016) (declining to vacate when NEPA alternatives
                                                        analysis found unlawful); Klamath-Siskiyou Wildlands Ctr. v. Nat’l Oceanic &
                                                        Atmospheric Admin., 109 F. Supp. 3d 1238, 1242 (N.D. Cal. 2015) (“[C]ourts may
                                                        decline to vacate agency decisions when vacatur would cause serious and irremediable
                                                        harms that significantly outweigh the magnitude of the agency’s error” (internal
                                                        quotation marks and citation omitted)).
                                                        256
                                                            Dunn Decl. ¶ 3.
                                                        257
                                                            Id. ¶¶ 4, 5.
                                                        258
                                                            Id. ¶¶ 9, 10.
                                                        259
                                                            Id. ¶ 8.
                                                        260
                                                            Id.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
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                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 68 of 71
                                                        ConocoPhillips has invested nearly $1 billion in the project. 261 By the end of this winter’s

                                                        construction season, ConocoPhillips will have invested a total of approximately $1.8

                                                        billion in Willow. 262

                                                               As explained in the Dunn Declaration, vacatur of any of the agency decisions

                                                        would make it “highly unlikely” that Willow will ever be constructed. 263 That would

                                                        mean all of the jobs provided by Willow, including this year, would be lost and

                                                        ConocoPhillips’ multi-billion-dollar investment in Alaska would not be made. In the long
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                                                        term, that would mean “no Willow-based production to (a) extend the life of the Trans-
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                                                        Alaska Pipeline System; (b) contribute to the NPR-A Impact Mitigation Grant Program;
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                                                        (c) contribute production tax revenue to the State of Alaska; (d) contribute ad valorem tax

                                                        revenue to the North Slope Borough; (e) create jobs and boost the economy on the North

                                                        Slope, throughout Alaska, and in the rest of the United States; and (f) bolster energy

                                                        security from domestic American production to offset foreign imports during the

                                                        anticipated transition to a lower carbon energy economy.” 264




                                                        261
                                                            Id. ¶ 11.
                                                        262
                                                            Id.; see Idaho Farm Bureau, 58 F.3d at 1405-06 (“significant expenditure of . . .
                                                        resources” counsels against vacatur “when a more closely tailored remedy is available”).
                                                        263
                                                            Dunn Decl. ¶¶ 14, 20.
                                                        264
                                                            Id. ¶ 21. As explained in the Dunn Declaration, in the unlikely event the project does
                                                        move forward after a second remand, the consequences would still be extremely
                                                        disruptive. See id. ¶¶ 20.
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -59-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 69 of 71
                                                               In short, vacating any of the agency decisions would have catastrophic

                                                        consequences for people and businesses in Alaska and beyond. The Ninth Circuit has

                                                        declined to vacate in similar circumstances. 265

                                                                                           IV. CONCLUSION

                                                               ConocoPhillips respectfully requests that the Court deny Plaintiffs’ motions for

                                                        summary judgment and grant the cross-motions for summary judgment of the Federal

                                                        Defendants and Intervenor-Defendants. 266
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                                                         DATED: August 30, 2023.
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                                                        Certification: Counsel for ConocoPhillips certifies that this brief is 14,993 words.
                                                        Counsel has sought leave to file a brief of no more than 15,000 words.




                                                        265
                                                           See Cal. Cmtys., 688 F.3d at 994.
                                                        266
                                                           ConocoPhillips adopts the ANILCA arguments of Federal Defendants and the other
                                                        Intervenors. Additionally, CBD does not address NEPA claims related to oil spill risks
                                                        from paragraph 188 of its amended complaint (CBD Dkt. 104 at 47) and SILA does not
                                                        address the litany of NEPA claims from paragraph 189 of its amended complaint (SILA
                                                        Dkt. 88 at 62-63). These abandoned claims should also be dismissed. See Ramirez v. City
                                                        of Buena Park, 560 F.3d 1012, 1026 (9th Cir. 2009).
                                                       Sovereign Iñupiat for a Living Arctic, et al. v. BLM, et al. - Case No. 3:23-cv-00058-SLG
                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -60-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 70 of 71
                                                                                       CERTIFICATE OF SERVICE

                                                                 I hereby certify that on August 30, 2023, I filed a true and correct copy of the

                                                        foregoing document with the Clerk of the Court for the United States District Court of

                                                        Alaska by using the CM/ECF system. Participants in Case No. 3:23-cv-00058-SLG and

                                                        3:23-cv-00061 SLG who are registered CM/ECF users will be served by the CM/ECF

                                                        system.
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                                                       Center for Biological Diversity, et al. v. BLM, et al. – Case No. 3:23-cv-00061-SLG
                                                                                                     -61-
                                                        Case 3:23-cv-00058-SLG Document 141 Filed 08/30/23 Page 71 of 71
